                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 1 of 92 Page ID #:504




                                                              Fax: (202) 237-6131                            Style Definition: Heading 1: Font: 14 pt,
                   1 BOIES SCHILLER FLEXNER LLP                                                              Underline, Centered, Indent: Left: 0.5", Space
                     Travis LeBlanc, SBN 251097               LAW OFFICE OF OMAR K.                          After: 0 pt, No bullets or numbering
                   2   tleblanc@bsfllp.com                    QUDRAT                                         Style Definition: Heading 2: Font: Times New
                     435 Tasso Street, Suite 205              Omar K. Qudrat (pro hac vice pending)          Roman Bold, 14 pt, Font color: Text 1, All caps,
                   3 Palo Alto, California 94301                                                             Indent: Left: 0.25", Space Before: 12 pt,
                                                              43 West 43rd Street, Suite 235                 Numbered + Level: 1 + Numbering Style: I, II,
                     Phone: (650) 445-6400 /Fax: (650) 329-   New York, NY 10036-7424                        III, … + Start at: 1 + Alignment: Right +
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                                                            Counsel for Plaintiffs                           Style Definition: Heading 3: Font: Times New
                   5 David K. Willingham, SBN 198874                                                         Roman, 14 pt, Bold, Indent: Left: 0.5", Space
                       dwillingham@bsfllp.com                                                                After: 0 pt, Line spacing: Exactly 12 pt,
                   6 725 S Figueroa Street,                                                                  Numbered + Level: 1 + Numbering Style: A, B,
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                     Lee S. Wolosky (pro hac vice pending)                                                   Alignment: Left + Aligned at: 2.25" + Indent
                  10   lwolosky@bsfllp.com                                                                   at: 2.5", Tab stops: Not at 2.25"
                     Robert J. Dwyer (pro hac vice pending)                                                  Style Definition: Heading 5: Indent: Left:
                  11   rdwyer@bsfllp.com                    Lee S. Wolosky (pro hac vice)                    2.5", Tab stops: Not at 2.25"
                     575 Lexington Ave., 7th Floor            lwolosky@bsfllp.com
S C H I L L E R




                  12 New York, NY 10022                                                                      Style Definition: Heading 6: Indent: Left: 3",
                                                            Robert J. Dwyer (pro hac vice)                   Tab stops: Not at 2.75"
                     Phone: (212) 446-2300 /Fax: (212) 446- rdwyer@bsfllp.com
                  13 2350                                   575 Lexington Ave., 7th Floor                    Style Definition: Heading 7: Indent: Left:
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                                                            New York, NY 10022
                  14 Amy L. Neuhardt (pro hac vice pending) Phone: (212) 446-2300                            Style Definition: Heading 8: Indent: Left: 4",
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                       aneuhardt@bsfllp.com                 Fax: (212) 446-2350
                  15 1401 New York Avenue, NW                                                                Style Definition: Heading 9: Indent: Left:
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                  21 BROIDY CAPITAL MANAGEMENT                 Case No. 2:18-cv-242102421-JFW                Formatted: Font color: Auto
                     LLC, and ELLIOTT BROIDY, and                                                            Formatted: Normal
                  22 ROBIN ROSENZWEIG,                                                                       Formatted: Normal (Web), Line spacing:
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                  23                                           FIRST AMENDED COMPLAINT
                                                                                                             Formatted: Normal, Line spacing: single
                                 Plaintiffs,                   AND DEMAND FOR JURY TRIAL                     Formatted: Space After: 0 pt, Line spacing:
                  24                                                                                         single
                            v.                                 The Honorable John F. Walter                  Formatted: Left: 1.4", Right: 0.5", Top: 1",
                  25                                                                                         Bottom: -0.68", Section start: Continuous,
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                  26 STATE OF QATAR, STONINGTON                                                              page header
                     STRATEGIES LLC, NICOLAS D.                                                              Formatted: Line spacing: single
                  27 MUZIN, GLOBAL RISK ADVISORS                                                             Formatted: Line spacing: single

                  28 LLC, KEVIN CHALKER, DAVID                                                               Formatted: Line spacing: single

                                                                                  Case No. 18-cv-02421-JFW
                                                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 2 of 92 Page ID #:505




                   1 MARK POWELL, MOHAMMED BIN
                     HAMAD BIN KHALIFA AL THANI,
                   2 AHMED AL-RUMAIHI, and DOES 1-
                   3 10,
                   4          Defendants.
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L L P




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F L E X N E R




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S C H I L L E R




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                                                     -2-                               Case No.
                                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 3 of 92 Page ID #:506




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                   1         Plaintiffs Broidy Capital Management LLC, (“BCM”) and Elliott
                   2 Broidy, and Robin Rosenzweig, (“Broidy”), by and through their attorneys
                   3 Boies Schiller Flexner LLP, bring this action seeking injunctive relief and
                   4 monetary damages against Defendants the State of Qatar, Stonington
                   5 Strategies LLC (“Stonington”), Nicolas D. Muzin (“Muzin”), Global Risk
                   6 Advisors LLC (“GRA”), Kevin Chalker (“Chalker”), David Mark Powell
                   7 (“Powell,” and together with Chalker and GRA the “GRA Defendants”),
L L P




                   8 Mohammed bin Hamad bin Khalifa al Thani (“Al Thani”), Ahmed al-Rumaihi
F L E X N E R




                   9 (“Al-Rumaihi,” and together with al Thani and the State of Qatar, the “Qatari
                  10 Defendants”), and Does 1-10, for Defendants’ unlawful conduct, as set forth
                  11 below. Defendants Stonington, Muzin, and Does 1-10 are collectively
S C H I L L E R




                  12 referred to herein as the “Agent Defendants.” 1
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                  13                           NATURE OF THE ACTION                                       Formatted: Heading 1, Left, Indent: First line:
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                  14         1.    This is a case about a hostile intelligence operation undertaken by
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                  15 a foreign presents the issue of whether a nation on the territory of the United
B O I E S




                  16 Statesstate can orchestrate and execute a criminal conspiracy directed against
                  17 successful, influential a United States citizen on United States citizens soil and
                  18 then invoke sovereign immunity to avoid liability, accountability and
                  19 exposure.
                  20         2.    Defendant State of Qatar reacted after neighboring Middle
                  21 Eastern countries sanctioned, embargoed and isolated Qatar commercially and
                  22 diplomatically in June 2017 for its support of terrorist organizations, and after
                  23 Qatar’s subsequent shunning by President Trump, by launching a wide-
                  24 ranging and extremely well-resourced effort to influence public opinion in the
                  25
                       1
                  26    The GRA Defendants, Does 1-10 and Defendants Muzin, Stonington and Al-
                       Rumaihi, are sometimes referred to herein as the “Agent Defendants.”
                  27                                                                                      Formatted Table

                  28                                       -- 2 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1 United States. Defendants Al Thani and Al-Rumaihi, a Qatari operative
                   2 present in the United States, were the architect of these efforts, which included
                   3 (among other things) initiatives to attack and discredit those who havehad
                   4 spoken out against that country’s support for terrorism and who have entered
                   5 into significant business relationships relating to defense and counterterrorism
                   6 with a rival nation. The purpose of the operation appears to have been to
                   7 diminish the influence of Qatar, and – according to court documents – efforts
L L P




                   8 to bribe individuals close to President Trump.
F L E X N E R




                   9        3.     Defendant State of Qatar (which as a principal is bound by the
                  10 actions and knowledge of its agents) hired numerous United States agents at a
                  11 cost of millions of dollars, including by entering into specific agreements with
S C H I L L E R




                  12 those agents for those agents to provide public relations, consultancy, and
                  13 related services. Some of those agents disclosed their work for Qatar by
                  14 making filings pursuant to the Foreign Agents Registration Act (such as
                  15 Defendants Stonington and Muzin) while others worked secretly for the State
B O I E S




                  16 of Qatar and did not make filings (such as Joseph (“Joey”) Allaham and the
                  17 GRA Defendants).
                  18        4.     In late 2017, the whitewashing campaign organized by Al Thani
                  19 and Al-Rumaihi – on behalf of and with the knowledge of and agreement to
                  20 by Defendant State of Qatar – was encountering serious problems and targeted
                  21 Plaintiff Broidy. Plaintiff Broidy’s public and private actions and statements
                  22 stood in the way of the State of Qatar’s aggressive public relations and
                  23 governmental relations efforts that sought to ingratiate Qatar with the new
                  24 Trump Administration and to deflect attention from Qatar’s record of
                  25 supporting terrorist organizations.
                  26        5.     On information and belief, Defendant Chalker is a former CIA
                  27 cyber-operative who runs GRA, which is headquartered in New York, New                Formatted Table

                  28                                       -- 3 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 5 of 92 Page ID #:508




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                   1 York. On information and belief, Defendant Powell is a former British
                   2 intelligence operative who runs GRA operations out of Qatar and established
                   3 GRA’s office there through a Gibraltar subsidiary in October 2017 – just
                   4 weeks prior to the commencement of the attack on Plaintiffs .
                   5         6.    On information and belief, the Qatari Defendants retained and
                   6 used the GRA Defendants to coordinate and implement the hack, and the
                   7 GRA Defendants also personally supervised aspects of the information
L L P




                   8 operation against Plaintiffs.
F L E X N E R




                   9         7.    On information and belief, the GRA Defendants introduced
                  10 Defendant State of Qatar to cyber mercenaries in various countries to
                  11 coordinate technical aspects of the illegal intrusion into Plaintiffs’ email
S C H I L L E R




                  12 server in Los Angeles and Google LLC’s server(s) in California, and the
                  13 dissemination of the contents to U.S. news organizations, including
                  14 individuals or groups associated with known mercenary cyber threat actors.
                  15 On information and belief, the individuals and entities identified by the GRA
B O I E S




                  16 Defendants and used by the Qatari Defendants to attack Plaintiffs are:
                  17 Omniscope Limited, a U.K. security and intelligence firm; a naturalized
                  18 Israeli citizen with a history of criminal activity; a retired Moroccan diplomat;
                  19 and a London-based strategic intelligence firm with offices in the United
                  20 States.
                  21         8.    On information and belief, the Agent Defendants all participated
                  22 in the strategic planning for and execution of the attacks.
                  23         9.    On information and belief, Defendant Muzin’s company
                  24 (Defendant Stonington) conspired with the other Defendants from within the
                  25 United States through a campaign to discredit Plaintiffs in the press and in the
                  26 eyes of to organize and disseminate Plaintiffs’ stolen emails to media
                  27 organizations. Significantly, Defendant Muzin exhibited inside knowledge of          Formatted Table

                  28                                       -- 4 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1 the attacks on Plaintiffs, and disclosed foreknowledge of future attacks to at
                   2 least one other potential victim to warn him against taking public positions
                   3 adverse to the State of Qatar. On information and belief, Defendant Muzin’s
                   4 company (Defendant Stonington) was among the vehicles used by the State of
                   5 Qatar to funnel funds to others involved in the attack.
                   6         10.   Defendant Muzin has admitted his culpability. Because of
                   7 Muzin’s status as its registered foreign agent, Muzin’s admission also binds
L L P




                   8 Defendant the State of Qatar.
F L E X N E R




                   9         11.   On March 5, 2018, Defendant Muzin told Joel Mowbray, a
                  10 business associate of Plaintiff Broidy and a critic of both the State of Qatar
                  11 and of Muzin, that there was “more stuff coming” from the New York Times.
S C H I L L E R




                  12 Indeed, there was: the New York Times published stories based on Plaintiffs’
                  13 stolen emails on March 22 and 26, 2018. In that same meeting, Muzin
                  14 discussed meetings he had with his client the State of Qatar while serving as
                  15 its registered agent. Muzin told Mowbray: “Broidy’s name comes up in
B O I E S




                  16 Embassy meetings often” and “I definitely identified him as somebody who,
                  17 was not, didn’t like them too much.” Muzin further acknowledged that
                  18 everyone he “fingered” was “in danger.” He warned Mowbray that
                  19 Mowbray and Plaintiff Broidy needed “to be very careful,” that the State of
                  20 Qatar is “going after you,” and that “Honestly, I know they’re after you
                  21 and Broidy.”
                  22         12.     At that meeting, Muzin tried to persuade Mowbray that the
                  23 blame for the hacks on Plaintiffs and attempted hacks on Mowbray and
                  24 subsequent media leaks should fall on Muzin’s principal (the State of Qatar)
                  25 and not Muzin because “I was doing my job.” Muzin was aware that the
                  26 State of Qatar utilized computer hacking as one of its cyber-weapons and
                  27 even admitted to Mowbray that he was “positive” that he himself had                  Formatted Table

                  28                                       -- 5 --             Case No. 18-cv-02421-JFW
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                   1 been hacked by the Qataris. Muzin’s admissions to Mowbray inculpate
                   2 both Muzin and his principal and co-conspirator the State of Qatar, since
                   3 Muzin admitted that he and his principal orchestrated and participated in the
                   4 scheme to harm Plaintiffs by hacking and disseminating their computer
                   5 systems and information.
                   6          13.    Somewhat belatedly, recognizing that he had admitted his
                   7 culpability and that of the State of Qatar to Mowbray, Muzin stated that he
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                   8 realized that he needed “to be a little more careful” when he spoke to
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                   9 Mowbray.
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                  10          1.14. Defendants’ unlawful activity was directed toward the United                   single, No bullets or numbering

                  11 States and much of that activity occurred within the United States, including
S C H I L L E R




                  12 the formation of the conspiracy in the United States during meetings in
                  13 Washington, D.C. The participants in these meetings were not engaged in
                  14 activities related to Qatar’s discretionary foreign policy, but instead were
                  15 conspiring to violate United States criminal and civil laws by targeting a
B O I E S




                  16 United States citizen for retribution because he had exercised his First
                  17 Amendment right to speak out publicly and privately to United States
                  18 government officials, and to disrupt their business relationship with rival
                  19 nations against the State of Qatar’s support for terrorist organizations.
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                  20          2.     The State of Qatar, by itself and/or through its agents, unlawfully
                  21 hacked into the email accounts and computer hack, and the resulting unlawful
                  22 access to Plaintiffs’ private communications, documents, trade secrets and intellectual
                  23 property, occurred in the United States. Defendants conspired to design, coordinate and
                  24 execute an unlawful spearphishing campaign against several U.S. persons affiliated with
                  25 Plaintiff Broidy that included the following: spoofing or otherwise obfuscating U.S.-
                  26 assigned phone numbers to deceive several persons in the United States into providing their
                  27 email login credentials; misappropriating the trademarks of U.S. companies such as Google     Formatted Table

                  28                                           -- 6 --             Case No. 18-cv-02421-JFW
                                                     FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1 LLC, a subsidiary of Alphabet, Inc; fraudulently registering online website domains in the
                   2 United States; stealing email and online account login credentials for several U.S. persons;
                                                                                                                      Formatted: Font: 12 pt
                   3 illegally intruding into Plaintiffs’ email server in Los Angeles as well as California servers
                   4 of United States citizens in California, stole private emails and documents
                   5 from them, and broadly disseminated the stolen emails and documents to
                   6 domestic and foreign media. Defendants engaged in a sophisticatedU.S.-based
                   7 Google; stealing emails from those U.S.-based servers; and then printing collections of
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                   8 Plaintiffs’ stolen electronic warfare, espionagefiles from within North America, sorting
                                                                                                                      Formatted: Font: 12 pt
F L E X N E R




                   9 them by topic, and disinformation campaign against Plaintiffs in an effort to
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                  10 retaliate against them, and to discreditdelivering them (in some cases by hand) to
                                                                                                                      Formatted: Font: 12 pt
                  11 news organizations in the United States and abroad. In addition to disseminating
S C H I L L E R




                  12 unlawfully stolen emails and documents, Defendants doctored or wholly
                  13 forged documents using information found on Plaintiffs’ computers to portray
                                                                                                                      Formatted: Font: 12 pt
                  14 a false narrative about Plaintiffs, and to disseminate, knowing that false
                  15 narrative to media organizations.
B O I E S




                  16          3.      The State of Qatar sponsors and supports terrorists, having once
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                  17 been called a “Club Med for Terrorists.” Last year, the State of Qatar
                  18 launched a multi-million dollar public relations campaign to obfuscate its ties
                  19 to, and financial and logistical support of, some of the world’s worst extremist
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                  20 and terroristnews organizations—including Al Qaeda (and its affiliate Al-
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                  21 Shabab), Hamas, would publish the stolen emails under the Taliban, andcloak of the               Formatted: Font: 12 pt

                  22 Muslim Brotherhood—and to change its image in First Amendment – all for the                      Formatted: Font: 12 pt


                  23 United States, specifically in the Jewish community in the United States. To
                  24 lead this campaign in the United States, the State of Qatar hired Defendant
                  25 Muzin’s firm and several other agents, included among the John Does 1-10.
                  26          4.      Defendants’ actions are motivated by activities undertaken by
                                                                                                                      Formatted: Font: 12 pt
                  27 purpose of discrediting Plaintiff Broidy that threaten the State of Qatar. As a                  Formatted Table

                  28                                            -- 7 --             Case No. 18-cv-02421-JFW
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                   1 prominent member of the American Jewish community who has frequently
                   2 interacted with the President of the United States, Plaintiff Broidy has been
                   3 especially vocal in expressing criticism of the State of Qatar’s support of
                   4 terrorism, to private persons, to United States government officials whom the
                   5 State of Qatar wishes to influence (including the President), and to the public
                   6 at large, through the support of initiatives that highlight Qatar’s efforts to
                   7 deceive Americans (such as by telling the world they are against terrorism and
L L P




                   8 housing a United States military base while at the same time giving support
F L E X N E R




                   9 and assistance to terrorists).
                  10         5.     On June 5, 2017, the United Arab Emirates (“UAE”) and Saudi
                  11 Arabia led an effort to isolate the State of Qatar because of the State of
S C H I L L E R




                  12 Qatar’s support for terrorism as well as the country’s close ties to Iran. The
                  13 UAE and Saudi Arabia severed diplomatic relations with the State of Qatar,
                  14 and the UAE closed its airspaces to Qatari aircrafts. Saudi Arabia further
                  15 closed its border with Qatar and banned Qatari-flagged ships from docking at
B O I E S




                  16 Saudi Arabian ports.
                  17         6.     Plaintiff Broidy operates businesses that have contracts with the
                  18 government of the UAE to assist the UAE in developing its defense and
                  19 counterterrorism capabilities. These contracts, which were finalized in 2017,
                  20 are worth over $200 million. Plaintiff Broidy also has entered into
                  21 preliminary discussions with Saudi Arabia about providing similar capabilities
                  22 enhancement in that country.
                  23         7.     For more than 25 years, Plaintiff Broidy has supported the State
                  24 of Israel through donations to many organizations.
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                  25         8.1.   Since September 11, 2001, Plaintiff Broidy has increased his           single, No bullets or numbering

                  26 involvement in supporting the safety of his homeland, the United States. As
                  27 part of his involvement, he became active in fundraising for the Republican           Formatted Table

                  28                                        -- 8 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1 Party because he believed its views on how to defend the United States were
                   2 aligned with his own. He also became involved in numerous civic activities
                   3 involving counter-terrorism to promote the security of the United States.
                   4         9.1.   Beginning with the AIPAC Policy Conference at the end of
                   5 March 2017, Plaintiff Broidy and others began to be vocal critics of the State
                   6 of Qatar’s for its support for terrorists and its friendly relationship with Iran,
                   7 which Mr. Broidy sees as a major threat to the security of the United States
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                   8 and its allies, and began to support financially public initiatives – such as
F L E X N E R




                   9 conferences – to educate Americans about Qatar’s support for terrorist and
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                  10 extremist organizations.
                  11         10.    Shortly thereafter, the State of Qatar, in an attempt to blunt the
S C H I L L E R




                  12 effect of the these initiatives and media reports highlighting its duplicitous
                  13 nature, hired teams of lobbyists and began to spend millions of dollars in an
                  14 effort to whitewash its record and hide the true facts about its support for
                  15 terrorists.
B O I E S




                  16         11.    These lobbyists include Avenue Strategies, a firm founded by
                  17 Corey Lewandowski, former campaign manager for the Trump campaign, and
                  18 former U.S. Attorney General John Ashcroft, whose responsibilities included
                  19 lobbying members of Congress and the Trump Administration (including the
                  20 White House) to try to convince our nation’s political leadership to see
                  21 Defendant State of Qatar in a more favorable light.
                  22         12.    Defendant State of Qatar also tried to enlist the support of the
                  23 Jewish community in the United States, and hired Defendant Muzin.
                  24 Defendant Muzin owns and operates Defendant Stonington, which is a
                  25 registered foreign agent of the State of Qatar. The State of Qatar pays Muzin
                  26 $300,000 per month for “strategic communications” and for trying to
                  27 influence public opinion in, and the foreign policies of, the United States.          Formatted Table

                  28                                        -- 9 --             Case No. 18-cv-02421-JFW
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                   1 Muzin has been employed by the State of Qatar to improve the State of
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                   2 Qatar’s image in the United States and whitewash its coddling of terrorist leaders
                   3 by getting support from Jewish leaders. Defendant Muzin first attempted to try
                   4 to arrange meetings between leaders of American Jewish organizations and
                   5 the current Emir of Qatar, Sheikh Tamim bin Hamad Al Thani (the “Emir”)
                   6 while the Emir was attending the United Nations General Assembly in New
                   7 York City. The opposition of Plaintiff Broidy and others to these efforts
L L P




                   8 helped prompt American Jewish leaders to refuse to meet with the Emir at the
F L E X N E R




                   9 United Nations General Assembly in September 2017, thereby frustrating the
                  10 State of Qatar’s plan as well as Muzin’s efforts to win over Jewish leaders.
                  11 According to a February 13, 2018 article in Tablet Magazine, an online
S C H I L L E R




                  12 publication focused on Jewish news, “Muzin largely failed to persuade Jewish
                  13 leaders to agree to meetings with influential Qataris visiting New York for the
                  14 opening of the United Nations General Assembly.”
                                                                                                           Formatted: List Paragraph, Line spacing:
                  15         13.1. Soon after the failure of the State of Qatar’s and the Agent            single, No bullets or numbering
B O I E S




                  16 interfering with his business relationships. Defendants’ United Nations
                  17 General Assembly initiative, Muzin began to invite American Jewish leaders
                  18 on all-expense-paid trips to Qatar to further the State of Qatar’s public
                  19 relations campaign. Plaintiff Broidy and others again encouraged American
                  20 Jewish leaders to decline the invitations. These efforts were mostly successful
                  21 in helping to prompt many American Jewish leaders to decline to participate
                  22 in the public relations trips to Qatar.
                  23         14.   The Emir is expected to travel again to the United States in April
                  24 2018 for bilateral meetings with the Trump Administration and visits to
                  25 Capitol Hill. The failure of the State of Qatar and its agents to improve the
                  26 State of Qatar’s image in the United States—and, specifically, with the
                  27 American Jewish community—led to meetings and discussions in advance of               Formatted Table

                  28                                       -- 10 --             Case No. 18-cv-02421-JFW
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                   1 the Emir’s anticipated visit to discuss the impediments to the State of Qatar’s
                   2 public relations efforts. On information and belief, during those discussions,
                   3 many of which occurred in the Embassy of Qatar in Washington, D.C.,
                   4 Defendant Muzin fingered Plaintiff Broidy as such an impediment.
                   5         15.   Starting last year, the State of Qatar, Muzin, and other foreign
                   6 agents conspired in a strategic campaign to retaliate against and discredit
                   7 Plaintiff Broidy. Through this campaign, Defendant State of Qatar seeks to
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                   8 damage Plaintiff Broidy’s reputation in order to frustrate his ability to educate
F L E X N E R




                   9 the American people about Qatar, to damage his reputation and reduce his
                  10 influence within the United States, to harm his ability to do further business
                  11 with the UAE and other Middle Eastern countries that are aligned against
S C H I L L E R




                  12 Qatar because of its support for terrorism, and to impact negatively his other
                  13 business prospects around the world.
                  14         16.    Over a period of months, on information and belief in the second
                  15 half of 2017 and in the first quarter of 2018, including critically on February
B O I E S




                  16 14, 2018, the State of Qatar, by itself and/or through its agents, hacked
                  17 Plaintiffs’ personal and business email accounts and computer servers in
                  18 California. On information and belief, during the same time period and using
                  19 similar techniques, the State of Qatar also, by itself and/or through its agents,
                  20 hacked the electronic communications of at least one other United States-
                  21 based, United States citizen who was also involved in activities that threatened
                  22 Defendant State of Qatar’s public relations campaign.
                  23         17.   On information and belief, Defendants illegally accessed
                  24 Plaintiffs’ credentials and used those credentials, along with other means, to
                  25 access Plaintiffs’ computer networks, and to thereafter steal and doctor
                  26 Plaintiffs’ emails and documents.
                  27                                                                                      Formatted Table

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                   1        18.    On information and belief, Defendants then began to disseminate
                   2 these emails and documents—including the forged documents—to media
                   3 organizations around the world and to provide those media organizations with
                   4 false stories based on those documents.
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                   5        19.15. Defendants’ efforts to target Plaintiff Broidy in this manner have     single, No bullets or numbering

                   6 been largely successful—: several media organizations have published articles
                   7 (including front page stories in the March 22 and 26, 2018 editions of Thethe
L L P




                   8 New York Times, a March 26, 2018 story by the Associated Press, a story in
F L E X N E R




                   9 the March 1, 2018 edition of the Wall Street Journal, and additional articles in
                  10 The Huffington Post, McClatchy, Esquire, The Intercept and Bloomberg
                  11 News, which stories were reprinted or summarized by numerous other news
S C H I L L E R




                  12 outlets). As acknowledged in the article in today’s New York Times,these As
                  13 recently as May 21, 2018, the Associated Press published a story based on the
                  14 hacked materials. In some instances, these news organizations have
                  15 acknowledged that those articles were based on information news
B O I E S




                  16 organizations they received from anonymous sources which claimedwho
                  17 boasted that the materials were hacked from Plaintiffs’ computers. Some of
                  18 the documents received by these news organizations were clearly falsified,
                  19 altered or forged.
                  20        20.     Al Jazeera, the international broadcaster owned by the State of
                  21 Qatar, was the only news organization willing to publish a story that relied on
                  22 clearly falsified or forged documents purporting to contain proof that Plaintiff
                  23 Broidy engaged in potentially unlawful business activities with a Russian
                  24 bank that is now sanctioned by the United States.
                                                                                                          Formatted: List Paragraph, Line spacing:
                  25        21.16. As a result of Defendants’ actions, Plaintiffs, and in particular      single, No bullets or numbering, Adjust space
                                                                                                          between Latin and Asian text, Adjust space
                                                                                                          between Asian text and numbers
                  26 Plaintiff Broidy, have been harmed. If Defendants are not enjoined from
                  27 disseminating the unlawfully obtained and fabricated data, Plaintiffs , and will     Formatted Table

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                   1 continue to suffer further serious injury. As a result, Plaintiffs request
                   2 injunctive relief to prevent the further accessing, use, and dissemination of
                   3 Plaintiffs’ data by Defendants, who seek only to benefit themselves and harm
                   4 Plaintiffs by illegally targeting United States citizens. Plaintiffs also seek
                   5 monetary damages with respect to harm that has already occurred, despite the
                   6 inability of such monetary damages to fully compensate Plaintiffs for the
                                                                                                           Formatted: Font color: Auto
                   7 harm they have suffered.be harmed.
L L P




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                   8                                      PARTIES                                          Formatted: Heading 1, Left, Line spacing:
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                   9         22.17. Plaintiff Broidy Capital Management LLC (“BCM”) is an                  together
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                  10 investment firm run by Plaintiff Elliott Broidy. BCM is a corporation duly
                                                                                                           Formatted: No bullets or numbering
                  11 organized under the laws of the State of California with its principal place of
S C H I L L E R




                  12 business in Los Angeles, California.
                  13         23.18. Plaintiff Elliott Broidy is a citizen of the United States and the
                  14 State of California who resides in Los Angeles, California. Plaintiff BroidyHe
                  15 is the Chief Executive Officer and Chairman of BCM.
B O I E S




                  16         24.   Plaintiff Robin Rosenzweig is a citizen of the United States and
                  17 the State of California who resides in Los Angeles, California. Plaintiff
                  18 Rosenzweig is a sole practitioner attorney with a law firm called Colfax Law
                  19 Office, Inc. and the wife of Plaintiff Broidy.
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                  20         25.19. Defendant the State of Qatar is a foreign state. The head of state
                  21 and head of government of Qatar is the current Emir of Qatar, Sheikh Tamim
                  22 bin Hamad Al Thani. The Emir has made visits to Los Angeles, California
                  23 and has hosted the Mayor of Los Angeles, Eric Garcetti, in Doha, the capital
                  24 of Qatar, as part of an effort to strengthen the partnership between the cities of
                  25 Los Angeles and Doha. Additionally, the State of Qatar maintains a
                  26 Consulate in Los Angeles, California. Entities related to the State of Qatar
                  27 own a majority interest in Ooredoo Q.S.C. (“Ooredoo”), an international               Formatted Table

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                   1 telecommunications company incorporated under the laws of Qatar with its
                   2 principal place of business in Doha, Qatar. Ooredoo provides services
                   3 throughout the Middle East and Southeast Asia and, in partnership with T-
                   4 Mobile and AT&T, provides roaming services in the United States, and its
                   5 facilities were employed to attack Plaintiffs’ computer servers.
                   6        26.20. Defendant Stonington Strategies LLC is a public relations and
                   7 lobbying firm incorporated under the laws of Delaware, with its. Upon
L L P




                   8 information and belief, Stonington’s principal place of business is in New
F L E X N E R




                   9 York City, New York. Stonington registered on September 3, 2017 under the
                  10 Foreign Agents Registration Act (“FARA”), 22 U.S.C. § 611 et seq., as a
                  11 foreign agent providing “strategic communications” for the State of Qatar.
S C H I L L E R




                  12 Stonington originally was retained to provide these services for $50,000 per
                  13 month. On November 1, 2017, shortly before the hacks on Plaintiff’s
                  14 computers began, Defendant the State of Qatar increased the amount by a
                  15 factor of six – to $300,000 per month.
B O I E S




                  16        27.21. Defendant Nicolas D. Muzin is the Chief Executive Officer of

                  17 Stonington and a political lobbyist who signed the FARA documents on
                  18 behalf of Stonington as a registered foreign agent of the State of Qatar. He is
                  19 a graduate of Yale Law School and a high-level Republican political
                  20 operative. Muzin served as chief of staff to then-Congressman (now Senator)
                  21 Tim Scott and served as deputy chief of staff for strategy to Senator Ted Cruz.
                  22 According to his biography on the Stonington website, Muzin also worked on
                  23 the Trump Presidential campaign as well as on the transition team to recruit
                  24 candidates for the new Administration. Shortly after the inauguration of
                  25 President Donald J. Trump, Muzin began working as a lobbyist, first
                  26 registering as a FARA agent for the Democratic Party of Albania in March
                  27 2017. On August 24, 2017, he was retained by the State of Qatar for                  Formatted Table

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                   1 “consulting services.” More recently, on May 14, 2018, Muzin was
                   2 photographed at the opening of the United States Embassy in Jerusalem with
                   3 Senator Cruz and White House aide Victoria Coates, the Senior Director for
                   4 International Negotiations on the National Security Council and a former aide
                   5 to Senator Cruz. Defendant Muzin is a citizen of the United States and a
                   6 resident of the state of Maryland. On information and belief, Muzin has
                   7 frequently traveled to California for business and political purposes during
L L P




                   8 recent years.
F L E X N E R




                   9         22.     Defendant Global Risk Advisors, LLC is a limited liability
                  10 company formed under the laws of Delaware, with its primary place of
                  11 business in New York, New York. It has not registered as a FARA agent of
S C H I L L E R




                  12 the State of Qatar.
                  13         23.     Defendant Kevin Chalker is the founder and Chief Executive
                  14 Officer of GRA. Upon information and belief, he is a citizen of the United
                  15 States and is domiciled in the state of New York. Chalker has not registered
B O I E S




                  16 as a FARA agent of the State of Qatar.
                  17         24. Defendant David Mark Powell is a Managing Director of GRA
                  18 and also is the Principal Agent of GRA in Qatar. On information and belief,
                  19 Powell is a citizen of the United Kingdom and is domiciled in the United
                  20 Kingdom.
                  21         25.     On October 26, 2017, only a few weeks before Defendants began
                  22 their efforts to unlawfully access Plaintiffs’ emails, documents, trade secrets
                  23 and intellectual property, GRA, acting through a wholly-owned subsidiary –
                  24 Global Risk Advisors (EMEA) Limited, a Gibraltar corporation, headed by
                  25 Defendant David Mark Powell – began to operate in Qatar.
                  26         26.     Defendant Mohammed bin Hamad bin Khalifa Al Thani, who
                  27 received his degrees from Georgetown and Harvard, is a brother of the Emir            Formatted Table

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                   1 of Qatar. According to articles in Sports Illustrated on May 23, 2011 and The
                   2 Telegraph on March 18, 2014, Defendant Al Thani has been accused of
                   3 bribery and human rights abuses in connection with Qatar’s successful bid to
                   4 host the 2022 FIFA World Cup and the subsequent construction of the
                   5 necessary facilities, which The Guardian reported on September 25, 2013
                   6 resulted in the “exploitation and abuses” of Nepalese workers “that amount to
                   7 modern-day slavery.”
L L P




                   8         27.   On information and belief, after its neighboring Middle Eastern
F L E X N E R




                   9 countries began their quarantine of Qatar in 2017, Defendant the State of
                  10 Qatar charged Defendant Al Thani with the task of attempting to influence
                  11 United States public opinion, and the position of the Trump Administration.
S C H I L L E R




                  12 For example, as reported in Politico on May 8, 2018, the State of Qatar’s
                  13 ongoing efforts to purchase Newsmax, a conservative news outlet with ties to
                  14 the Trump Administration, were “overseen by Mohammed bin Hamad bin
                  15 Khalifa Al Thani, a younger brother of Qatari Emir Tamim bin Hamad Al
B O I E S




                  16 Thani” and “came during a mad scramble by the wealthy Gulf monarchy to
                  17 win friends and clout in the United States as it struggled to respond to a
                  18 Trump-endorsed blockade by its Arab neighbors.” On information and belief,
                  19 Al Thani also specifically directed the effort to address impediments to the
                  20 success of Qatar’s program to influence United States public opinion and the
                  21 position of the Trump Administration on the embargo, including specifically
                  22 the efforts to attack and discredit Plaintiff Broidy.
                  23         28.    Defendant Ahmed Al-Rumaihi is a citizen of the State of Qatar
                  24 and a former Qatari diplomat. In the time period beginning in April 2017 and
                  25 continuing to the present, Defendant Al-Rumaihi has not held an official
                  26 position in the Government of the State of Qatar (according to the State of
                  27                                                                                      Formatted Table

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                   1 Qatar), but on information and belief has continued to act as an agent of the
                   2 State of Qatar. Al-Rumaihi is a resident of Qatar.
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                   3         28.29. On information and belief, Defendants Does 1-10 are agents of

                   4 the State of Qatar, some of whom may not have not registered under FARA.
                   5 On information and belief, none of Defendants Does 1-10 is a citizen or
                   6 resident of the stateState of California.
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                   7                         JURISDICTION AND VENUE
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                   9    I.   SUBJECT MATTER JURISDICTION
                  10         30.   This Court has subject matter jurisdiction and personal
                  11 jurisdiction over the State of Qatar pursuant to 28 U.S.C. § 1330 and the
S C H I L L E R




                  12 Foreign Sovereign Immunities Act, 28 U.S.C. § 1602 et seq., because its
                  13 conduct falls within the exception to foreign sovereign immunity set forth in
                  14 28 U.S.C. § 1605(a)(5). (the “FSIA”), 28 U.S.C. § 1602 et seq., because its
                  15 conduct falls within the exception to foreign sovereign immunity set forth in
B O I E S




                  16 28 U.S.C. § 1605(a)(5). Plaintiffs intend to serve the State of Qatar pursuant
                  17 to Multiple entire torts as described herein occurred within the United States,
                  18 and additional tortious misconduct described herein occurred at a minimum
                  19 predominately within the United States.
                                                                                                          Formatted: List Paragraph, Line spacing:
                  20         29.31. This Court also has subject matter jurisdiction over the State of     single, No bullets or numbering

                  21 Qatar because its conduct falls within the exception to foreign sovereign
                  22 immunity set forth in 28 U.S.C. § 1608(a), among1605(a)(2). The State of
                  23 Qatar entered into numerous commercial contracts with persons to provide
                  24 consulting, public relations, offensive cyber and other lawful and unlawful
                  25 commercial services in order to further the State of Qatar’s public relations
                  26 efforts and economic and commercial interests, which included most
                  27 significantly the lifting of a comprehensive trade and commercial embargo on         Formatted Table

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                   1 Qatar. In furtherance of those commercial contracts, Defendants then targeted
                   2 Plaintiff Broidy. Upon information and belief, the State of Qatar engaged the
                   3 GRA Defendants and the Agent Defendants to use illegal commercial means
                   4 that may present themselvesto promote its own economic and commercial
                   5 interests, including by conducting economic espionage. These forms of
                   6 commercial activity directly affected the United States.
                   7         30.32. This Court further has subject matter jurisdiction over this action
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                   8 under 28 U.S.C. § 1331, and supplemental jurisdiction over Plaintiffs’ state
F L E X N E R




                   9 law claims under 28 U.S.C. § 1367. Additionally, this Court has subject
                  10 matter jurisdiction over Plaintiffs’ claims under 28 U.S.C. § 1332 because
                  11 Plaintiffs are all citizens of the state of California and, to Plaintiffs’
S C H I L L E R




                  12 knowledge, none of the Defendants is a citizen of the stateState of California.
                  13 Accordingly, the citizenship of the parties is diverse. The amount in
                  14 controversy exceeds $75,000, exclusive of interest and costs.
                  15   II.   PERSONAL JURISDICTION
B O I E S




                  16         33.    This Court has personal jurisdiction over the State of Qatar
                  17 pursuant to 28 U.S.C. § 1330 and the Foreign Sovereign Immunities Act, 28
                  18 U.S.C. § 1602 et seq., because its conduct falls within the exception to foreign
                  19 sovereign immunity set forth in 28 U.S.C. § 1605(a)(5) and § 1605(a)(2).
                  20         34.    Plaintiffs served the State of Qatar pursuant to 28 U.S.C.
                  21 § 1608(a).
                                                                                                            Formatted: List Paragraph, Line spacing:
                  22         31.35. This Court has personal jurisdiction over the Agent Defendants          single, No bullets or numbering

                  23 and the Qatari Defendants other than the State of Qatar itself under the state of
                  24 California’s long-arm statute, Cal. Civ. Proc. Code § 410.10. , because they
                  25 directly or as a result of their participation in the conspiracy described herein,
                  26 targeted Plaintiffs in California and directed their tortious conduct towards
                  27                                                                                        Formatted Table

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                   1 Plaintiffs in California, with knowledge and intent that Plaintiffs suffer harm
                   2 in California.
                   3          36.    On information and belief, Defendant Al-Rumaihi leases
                   4 property in California, conducts substantial business in California, and has
                   5 sufficient and substantial contacts with this jurisdiction.
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                   6 III.     VENUE                                                                            color: Auto

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                              32.37. Venue is proper in this judicial district under 28 U.S.C.                 single, No bullets or numbering
                   8
                       § 1391(b)(2) because a substantial part of the events or omissions giving rise
F L E X N E R




                   9
                       to this claim occurred in this judicial district. , and a substantial part of
                  10
                       property that is the subject of this action is situated in this judicial district. In
                  11
                       particular, the private communications, documents, trade secrets and
S C H I L L E R




                  12
                       intellectual property that was unlawfully accessed, converted, and stolen was
                  13
                       located in this district and the unlawful access to those materials necessarily
                  14
                       took place in this district. Venue is also proper in this judicial district under 28
                  15
B O I E S




                       U.S.C. § 1391(f)(1) for the same reasons and because Defendant the State of
                  16
                       Qatar is a foreign state.
                  17
                              38.    Venue also is proper in this judicial district under 28 U.S.C.
                  18
                       §1391(f)(1) for the same reasons and because Defendant the State of Qatar is
                  19
                       a foreign state.
                  20
                              39.    Alternatively, venue is proper in this judicial district under 28
                  21
                       U.S.C. § 1391(b)(3) because there is no judicial district in a State in which all
                  22
                       non-foreign defendants are resident, and at least one Defendant is subject to
                  23
                       personal jurisdiction in California.
                  24
                  25
                  26
                  27                                                                                           Formatted Table

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                                                                                                              Formatted: Font: Not Bold, Not All caps
                                                    STATEMENT OF FACTS                                        Formatted: Heading 1, Left, Line spacing:
                   1                                                                                          single
                       I.        DEFENDANTS DELIBERATELY TARGETED PLAINTIFF
                   2             BROIDY BECAUSE OF HIS AFFILIATIONS, HIS
                                 INFLUENCE, AND HIS CRITICISMS OF THE STATE OF
                   3             QATAR.
                   4
                                 40.   This is a case about a civil and criminal conspiracy undertaken by
                   5
                       a foreign nation on the territory of the United States against a successful,
                   6
                       influential United States citizen and his California corporation. Qatar targeted
                   7
L L P




                       Plaintiff Broidy because he spoke out forcefully and effectively against
                   8
                       Qatar’s support for terrorism, entered into significant business relationships
F L E X N E R




                   9
                       relating to defense and counterterrorism with a neighboring nation, and stood
                  10
                       in the way of relieving commercial pressures resulting from a devastating
                  11
                       economic embargo. The purpose of the conspiracy targeting Broidy was to
S C H I L L E R




                  12
                       use illegal means to diminish his influence within the United States through a
                  13
                       campaign to discredit him in the press and in the eyes of U.S. government
                  14
                       officials, and to disrupt Plaintiffs’ business relationships. The conspiracy
                  15
B O I E S




                       included the commissioned hacking of Plaintiffs’ computer networks, which
                  16
                       were located in the United States during the relevant timeframe, including
                  17
                       Plaintiffs’ email accounts, and transmission of the illicitly obtained data to the
                  18
                       media.
                  19
                            I.   INTERNATIONAL SANCTIONS WERE IMPOSED ON THE
                  20             STATE OF QATAR IN JUNE 2017 AS THE RESULT OF ITS
                                 HISTORY OF SUPPORTING AND HARBORING TERRORISTS
                  21                                                                                          Formatted: List Paragraph, Line spacing:
                                 33.41. Defendant the State of Qatar sponsors and supports terrorists,        single, No bullets or numbering
                  22
                       having once been called a “Club Med for Terrorists.” Qatar has allowed and
                  23
                       continues to allow itself to beserve as a sanctuary for terrorist leaders and
                  24
                       organizations, including but not limited to Al Qaeda (and its affiliates
                  25
                       including Al-Shabab and Al Qaeda in Syria, also known as Al-Nusra Front or
                  26
                       Jabhat Al-Nusra), Hamas, the Taliban, and the Muslim Brotherhood.
                  27                                                                                          Formatted Table

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                   1         34.42. Numerous individuals residing in Qatar have been sanctioned by
                   2 the United States Department of Treasury for raising funds for Al Qaeda.
                   3         35.43. Individuals who serve as fundraisers for Al Qaeda’s Syrian
                   4 franchise (the Nusra Front) operate freely in Qatar. These individuals appear
                   5 at state-owned Mosques and on broadcasts aired by the state-funded Al
                   6 Jazeera. The State of Qatar has failed to shut down these fundraisers.
                   7         36.44. The State of Qatar has also has been accused of hosting the
L L P




                   8 Somali terrorist group Al-Shabab, an Al Qaeda affiliate.
F L E X N E R




                   9         37.45. The State of Qatar also has permitted Hamas leaders to operate
                  10 freely within the country. Indeed, the State of Qatar has provided substantial
                  11 funding to Hamas, despite being subjected to international political and
S C H I L L E R




                  12 economic sanctions for such support.
                  13         38.46. The State of Qatar has further allowed the Taliban to operate and
                  14 maintain an office in Doha.
                  15         39.47. The State of Qatar has given safe haven to many leaders of the
B O I E S




                  16 Muslim Brotherhood after their expulsion from Egypt by the Egyptian
                  17 government.
                  18         40.48. On May 25, 2017, a bill (H.R. 2712) was introduced in the
                  19 United States House of Representatives titled “The Palestinian International
                  20 Terrorism Support Prevention Act of 2017.” The draft bill, which would have
                  21 barred assistance from the United States government to any country that aided
                  22 Hamas, stated in its findings that “Hamas has received significant financial
                  23 and military support from Qatar.”
                  24         41.49. On June 5, 2017, the UAE, Saudi Arabia and otherneighboring
                  25 Middle Eastern states severed diplomatic relations with the State of Qatar
                  26 because of the State of Qatar’s support for terrorism and its close ties to Iran.
                  27 Other governments, including Yemen, the Maldives, and Libya, quickly                 Formatted Table

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                   1 followed. The UAE, Egypt, and Bahrain each alsoSome countries closed their
                   2 airspaces to Qatari aircraft. Saudi Arabia, closed its bordertheir borders with
                   3 the State of Qatar and/or banned Qatari-flagged ships from docking at itstheir
                   4 ports. The UAE and the other sanctioning states issued a set of demands to
                   5 the State of Qatar through Kuwaiti intermediaries. Those demands
                   6 includedincluding that the State of Qatar curb ties with Iran and stop funding
                   7 terrorist organizations. Those demands were rejected.
L L P




                   8         50.     President Trump denounced Qatar and sided with the efforts to
F L E X N E R




                   9 embargo Qatar, tweeting on June 6, 2017: “During my recent trip to the
                  10 Middle East I stated that there can no longer be funding of Radical Ideology.
                  11 Leaders pointed to Qatar - look!”
S C H I L L E R




                  12         51.     On June 9, 2017, once again siding with the sanctioning states
                  13 and criticizing the more conciliatory tone of the then-Secretary of State,
                  14 President Trump stated:
                  15         The nation of Qatar, unfortunately, has historically been a funder
B O I E S




                             of terrorism at a very high level, and… nations came together and
                  16         spoke to me about confronting Qatar over its behavior. So we
                             had a decision to make: Do we take the easy road, or do we
                  17         finally take a hard but necessary action? We have to stop the
                             funding of terrorism. I decided, along with Secretary of State
                  18         Rex Tillerson, our great generals and military people, the time
                             had come to call on Qatar to end its funding — they have to end
                  19         that funding — and its extremist ideology in terms of funding…
                             This is my great priority because it is my first duty as President to
                  20         keep our people safe. Defeating ISIS and other terror
                             organizations is something I have emphasized all during my
                  21         campaign and right up until the present. To do that, stop funding,
                             stop teaching hate, and stop the killing. For Qatar, we want you
                  22         back among the unity of responsible nations.
                                                                                                           Formatted: List Paragraph, Line spacing:
                  23         42.1. These international sanctions on the State of Qatar remain in           single, No bullets or numbering

                  24 effect today.
                  25         43.52. Defendant State of Qatar is a nation rich in natural gas resources,
                  26 but it is reliant on food and other supplies that arrive by truck via its border
                  27 with Saudi Arabia. The sanctions threatened to damage Qatar’s                         Formatted Table

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                   1 economy.borders that closed as part of the embargo. The international
                   2 sanctions – and the support the President Trump expressed for them –
                   3 threatened to damage Qatar’s economy and plunged Qatar into crisis. The
                   4 sanctioning states threatened to expel the State of Qatar from the Gulf
                   5 Cooperation Council, a regional economic and security cooperation body
                   6 made up of six nations. The economic quarantine led to a massive drop-off in
                   7 foreign investment in Qatar. According to the International Monetary Fund,
L L P




                   8 “following the rift, foreign financing (non-resident deposits and inter-bank
F L E X N E R




                   9 placements) and resident private-sector deposits fell by about US$40 billion.”
                  10         53.     These international sanctions on the State of Qatar remain in
                  11 effect today.
S C H I L L E R




                  12   II.   THE STATE OF QATAR BEGAN A PUBLIC RELATIONS
                             CAMPAIGN TO IMPROVE ITS IMAGE IN THE UNITED
                  13         STATES, WHICH HAS SUPPORTED THE INTERNATIONAL
                             SANCTIONS AGAINST QATAR
                  14
                  15         54.     As a result of its ArabMiddle Eastern neighbors severing
B O I E S




                  16 diplomatic relations with the country and in fear ofimposing a commercial
                  17 blockade, the enactment of H.R. 2712, the State of Qatar decided to
                  18 retainQatari Defendants retained agents in Washington, D.C. and to paypaid
                  19 them significant sumsmillions of moneydollars to impact public opinion and
                  20 public policy in the United States. According to the Center for Responsive
                  21 Politics, the State of Qatar spent nearly five million dollars on lobbyists and
                  22 media, including by entering into specific agreements with those agents for
                  23 those agents to provide public relations in 2017 in an effort to ensure that ,
                  24 consultancy, and related services. The Qatari Defendants launched a public
                  25 relations campaign to obfuscate Qatar’s ties to, and financial and logistical
                  26 support of, some of the world’s worst extremist and terrorist organizations—
                  27 including Al Qaeda (and its affiliate Al-Shabab), Hamas, the Taliban, and the         Formatted Table

                  28                                       -- 23 --             Case No. 18-cv-02421-JFW
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                   1 Muslim Brotherhood—and to change Qatar’s image in the United States
                   2 would support , including particularly in the Jewish community in the United
                   3 States. As Tablet Magazine, an online publication focused on Jewish news,
                   4 wrote on February 13, 2018, the Qatari influence operation reflected “a Qatari
                   5 preoccupation with American Jewish communal power, as well as a desire to
                   6 address whichever challenges Doha believes Jewish influence raises for the
                   7 country’s vast ambitions in Washington and beyond.”
L L P




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                   8        44.    This campaign was aimed at: (1) bolstering the image of the State of Qatar
F L E X N E R




                   9 in its diplomatic standoff with other Arab countries.
                  10        55.    Among the high-profile agents hired by circles perceived as
                  11 influential with the Trump Administration; and (2) curtailing the influence of
S C H I L L E R




                  12 individuals that could undermine the standing of the State of Qatar was former
                  13 Attorney General John Ashcroftin the United States.
                  14        A. Al Thani and Al-Rumaihi Directed and Supervised The State Of
                               Qatar’s Whitewashing Efforts
                  15
B O I E S




                  16        56.    This campaign on behalf of Defendant the State of Qatar was
                  17 directed and supervised by its agents Defendant Al Thani and Defendant Al-
                  18 Rumaihi.
                  19        57.    One of the activities engaged in by Defendant Al-Rumaihi was
                  20 investing in entities that he and Defendant Al Thani thought could help to
                  21 bolster Qatar’s image in the United States. Al-Rumaihi and Al Thani have
                  22 access to billions of dollars in capital from the Qatar Investment Authority to
                  23 use for this purpose. As one example, in 2017 Al-Rumaihi was a significant
                  24 investor in the “Big3” basketball league, started by Rapper Ice Cube and Jeff
                  25 Kwatinetz, a Los Angeles businessman. Al-Rumaihi then sought to use his
                  26 association with Kwatinetz to gain contact with Kwatinez’s former business
                  27 associate, Steve Bannon, who leads that engagement for the Ashcroft Law                    Formatted Table

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                   1 Group. The relevant contract with the State of Qatarwas at that time the Chief
                   2 White House Strategist for President Trump. In litigation relating to Al-
                   3 Rumaihi’s investment in Big3, Kwatinetz filed an affidavit stating: “there
                   4 were numerous occasions during the 2017 [Big3] season, where Mr. Al-
                   5 Rumaihi would bring up Mr. Bannon’s name to me and comment about Mr.
                   6 Bannon’s political positions, his views on the blockade [of Qatar by Gulf
                   7 states that ], the Trump administration’s position toward Qatar, and he
L L P




                   8 persistently inquired about wanting to meet with Mr. Bannon.”
F L E X N E R




                   9        58.   In an affidavit filed in that litigation, Kwatinetz further revealed
                  10 that Defendant Al-Rumaihi admitted that he had previously attempted to
                  11 financially influence former Attorney General Ashcroftofficials of the Trump
S C H I L L E R




                  12 Administration:
                  13        Mr. Al-Rumaihi stated to me [Kwatinetz] that he wanted me to
                            convey a message from the Qatari Government to Steve Bannon.
                  14        Mr. Al-Rumaihi requested I set up a meeting between him, the
                            Qatari government, and Steven Bannon, and to tell Steve Bannon
                  15        that Qatar would seekunderwrite all of his political efforts in
B O I E S




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                            return for his support. I immediately let Mr. Al-Rumaihi know
                  16        that I was offended by this request, that I was trying to run a
                            basketball league and need our money paid, and I stated that
                  17        neither I nor Steve Bannon would ever take, or even entertain the
                            concept, of a bribe of any kind. I was appalled. Mr. Al-Rumaihi
                  18        laughed and then stated to me that I shouldn’t be naive, that so
                            many Washington politicians take our money, and stated “do you
                  19        think [former National Security Advisor Michael] Flynn turned
                            down our money?”
                  20
                  21        59.   On information and belief, Defendant Al-Rumaihi’s comments to
                  22 Kwatinetz reference a December 12, 2016 visit by Al-Rumaihi to Trump
                  23 Tower to visit with the Trump Transition Team. Michael Flynn, at that time
                  24 the incoming National Security Adviser, was at Trump Tower on that same
                  25 day. Both Al-Rumaihi and Flynn were photographed in the lobby of the
                  26 Trump Tower that day.
                  27                                                                                     Formatted Table

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                   1        60.    The attempted purchase of Newsmax is another example of how
                   2 Al-Rumaihi and Al Thani sought to use millions of dollars from the Qatari
                   3 Investment Authority to bolster Qatar’s image in the United States in an effort
                   4 to address the commercial embargo. Politico reported on May 8, 2018 that
                   5 the State of Qatar’s attempt to purchase Newsmax was “overseen by
                   6 Mohammed bin Hamad bin Khalifa Al Thani, a younger brother of Qatari
                   7 Emir Tamim bin Hamad Al Thani” and “came during a mad scramble by the
L L P




                   8 wealthy Gulf monarchy to win friends and clout in the United States as it
F L E X N E R




                   9 struggled to respond to a Trump-endorsed blockade by its Arab neighbors.”
                                                                                                         Formatted: List Paragraph, Line spacing:
                  10        45.61. Defendant Al-Rumaihi retained additional agents to craft and          single, No bullets or numbering

                  11 execute the State of Qatar’s image whitewashing campaign. For example, Al-
S C H I L L E R




                  12 Rumaihi was identified as the contact for Qatar in the June 7, 2017 retainer
                  13 agreement between the Ashcroft Law Firm LLC and the “Government of
                  14 Qatar.” According to the FARA filing disclosing that contract, former
                  15 Attorney General Ashcroft was retained by the Qatari Defendants to “enlist
B O I E S




                  16 the support and expertise of former key government leaders, including former
                  17 officials who held very senior positions within the Intelligence Community,
                  18 the Federal Bureau of Investigation, the Department of Treasury and the
                  19 Department of Homeland Security[.]” That $2.5 million retainer agreement
                  20 was signed for the State of Qatar by Dr. Ahmed Al-Hammadi, the Secretary
                  21 General of the State of Qatar’s Ministry of Foreign Affairs and the Acting
                  22 Head of Investments of the State-owned Qatar Investment Authority.
                  23        B. Defendant Muzin also sought out otherDefendants Stonington
                               And Muzin Initially Focused On Influencing The United States
                  24           Jewish Community
                  25
                            62.    Upon information and belief, as described in the February 13,
                  26
                       2018 Tablet Magazine article, Defendant Al-Rumaihi worked with
                  27                                                                                     Formatted Table

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                   1 unregistered Qatari agent Joey Allaham to identify Defendants Muzin and
                   2 Stonington to assist in the State of Qatar’s campaign to influence the Jewish
                   3 community in the United States.
                   4          63.    In late August 2017, the Qatari Defendants retained Defendants
                   5 Stonington and Muzin to influence public opinion regarding the State of
                   6 Qatar. Their agreement specifies that Muzin and Stonington were to provide
                   7 “consulting services” including the “development and implementation of a
L L P




                   8 government relations strategy for the State of Qatar, as requested and directed
F L E X N E R




                   9 by the Embassy.” The initial agreement provided that the State of Qatar
                  10 would pay Muzin and Stonington $50,000 a month for these services.
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                  11          46.    high-profile individuals who could be helpful in furthering the interests of
S C H I L L E R




                  12 the State of Qatar. On information and belief, Defendant Muzin recruited former Arkansas
                  13 Governor Mike Huckabee, a Republican candidate for President, prominent media
                  14 commentator, and father of current White House Press Secretary Sarah Huckabee Sanders,
                  15 to participate on a trip to Qatar. On January 8, 2018, former Governor Huckabee tweeted
B O I E S




                  16 “I’m in Doha,” and then on January 12, 2018, tweeted, “Just back from a few days in
                  17 surprisingly beautiful, modern, and hospitable Doha[.]”
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                  18          47.1. On information and belief, Defendant Muzin also met with White                  single, No bullets or numbering

                  19 House aide Victoria Coates, the Senior Director for International Negotiations
                  20 on the National Security Council and a former aide to Senator Ted Cruz, to
                  21 advocate for United States policies that would be supportive of the State of
                  22 Qatar. On information and belief, Defendant Muzin got Coates to have her
                  23 boss, Jason Greenblatt, the Special Envoy for International Negotiations, send
                  24 out a Tweet that was supportive of Qatar. On February 9, 2018, Greenblatt
                  25 tweeted: “Qatar partnering with Israel can bring real relief to the people of
                  26 Gaza. Ending support for Hamas and focusing on humanitarian aid and
                  27 reconstruction will end the suffering.”                                                        Formatted Table

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                   1         48.   One of the objectives of this multi-million dollar lobbying effort
                   2 was to whitewash and obscure the voluminous record of the State of Qatar’s
                   3 support for terrorism. The State of Qatar also sought to discredit United States
                   4 citizens who opposed the State of Qatar’s agenda and frustrated its public
                   5 relations offensive.
                                                                                                          Formatted: No bullets or numbering
                   6         49.1. Even before Defendant Muzin was retained, officials of
                   7 Defendant State of Qatar told him at a meeting in Qatar of their concerns
L L P




                   8 about Plaintiff Broidy. As Defendant Muzin recounted, “They knew about
F L E X N E R




                   9 him [Broidy]” and “knew that he [Broidy] had been influential” in shaping the
                  10 White House’s views on Qatar.
                  11         50.   Qatari officials complained in particular about President Trump’s
S C H I L L E R




                  12 remarks at a June 2017 meeting of the Republican National Committee where
                  13 President Trump singled out Plaintiff Broidy in the audience and stated:
                  14 “Elliott Broidy is fantastic.” That acknowledgment was followed by a round
                  15 of applause. Later in his speech, President Trump made the following remarks
B O I E S




                  16 in the speech: “We’re having a dispute with Qatar — we’re supposed to say
                  17 Qatar. It’s Qatar, they prefer. I prefer that they don’t fund terrorism.”
                  18         51.   According to Defendant Muzin, the officials of Defendant State
                  19 of Qatar, with whom he met shortly after President Trump’s remarks stated:
                  20 “Broidy was like sitting in the front row and that he had somehow prompted
                  21 Trump to say that.”
                  22         52.   According to filings with the United States Department of Justice
                  23 mandated under FARA, at least the following agents were retained in the
                  24 second half of 2017 or the first quarter of 2018 to help the State of Qatar to
                  25 improve its image in the United States:
                  26
                  27                                                                                      Formatted Table

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                   1           a. Avenue Strategies Global LLC (July 17, 2017 agreement), a
                   2              firm with which former Trump Campaign Manager Corey
                   3              Lewandowski has been affiliated, at the rate of $150,000 per
                   4              month, increased to $500,000 per month on September 5,
                   5              2017;
                   6           b. Stonington Strategies LLC (August 24, 2017 agreement) at
                   7              the rate of $50,000 per month, increased to $300,000 per
L L P




                   8              month on November 1, 2017;
F L E X N E R




                   9           c. Ashcroft Law Group (June 7, 2017 agreement), at the rate of
                  10              $2.5 million for a 90 day retainer
                  11           d.a.   Levick Strategic Communications (June 5, 2017
S C H I L L E R




                  12              agreement) at the rate of $54,000 per month;
                  13           e.a.   Information Management Services Inc. (June 19, 2017
                  14              agreement) at the rate of $375,000 per month;
                  15           f.a.Conover & Gould Strategic Communications (June 29, 2017
B O I E S




                  16              agreement) at the rate of $100,000 per month;
                  17           g. Gallagher Group (July 11, 2017 agreement) at the rate of
                  18              $25,000 per month;
                  19           h.a.   McDermott, Will & Emery (July 13, 2017 agreement) at
                  20              the rate of $40,000 per month;
                  21           i. Nelson Mullins Riley & Scarborough LLP (July 26, 2017
                  22              agreement) at the rate of $100,000 per month;
                  23           j.a. Portland PR (December 6, 2017 agreement) at the rate of
                  24              $123,195 per month;
                  25           k.a.   Mercury Public Affairs (September 7, 2017 agreement) at
                  26              the rate of $120,000 per month;
                  27                                                                                 Formatted Table

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                   1                 l.a. Bluefront Strategies (September 12, 2017 agreement)
                   2                     $100,000;
                   3                 m.a. Hawksbill Group (August 1, 2017 agreement) $165,000;
                   4                 n. Vitello Consulting (December 6, 2017 agreement) $10,000 as
                   5                     a subcontractor of Stonington Strategies;
                   6                 o.a.    Iron Bridge Strategies (February 1, 2018 agreement) at the
                   7                     rate of $25,000 per month;
L L P




                   8                 p.a.    Tigercomm LLC (January 11, 2018 agreement) at the rate
F L E X N E R




                   9                     of $30,000 per month;
                  10                 q.a.    Husch Blackwell Strategies (February 1, 2018 agreement)
                  11                     at the rate of $25,000 per month;
S C H I L L E R




                  12                 r. SGR Government Relations & Lobbying (February 1, 2018
                  13                     agreement) at the rate of $40,000 per month; and
                  14                 s. Venable LLP (January 31, 2018 agreement) at the rate of
                  15                     $150,000 per month.
B O I E S




                  16          53.    Defendant Muzin, CEO of Stonington, is a graduate of Yale Law
                  17 School and a high-level Republican political operative. Muzin served as chief
                  18 of staff to then-Congressman Tim Scott and served as senior policy advisor
                                                                                                                    Formatted: Font: 12 pt
                  19 and deputy chief of staff for strategy to Senator Ted Cruz. According to his
                  20 biography on the Stonington website, Muzin also worked on the Trump Presidential
                  21 campaign as well as on the transition team to recruit candidates for the new Administration.
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                  22          54.64. Defendant Muzin’s efforts as an agent of the State of Qatar                    single, No bullets or numbering

                  23 quickly focused on an effort to put a pro-Jewish spin on the State of Qatar’s
                  24 facilitation of terrorist activities in the Middle East. Muzin is quoted in
                  25 aQatar. A September 5, 2017 article in O’Dwyer’s, an online magazine
                  26 covering the public relations industry, quotes Muzin as stating: “Engagement
                  27 with Qatar can only be in the best interests of the United States and the Jewish               Formatted Table

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                   1 community, as we cannot allow Qatar to be ostracized by its neighbors and
                                                                                                          Formatted: Font: Not Bold
                   2 pushed into Iran’s sphere of influence.”
                   3        55.65. Shortly thereafter, asAs reported by the Israeli newspaper
                   4 Haaretz on September 28, 2017, Defendant Muzin invited American Jewish
                   5 leaders to meet with the Emir in New York City during the Emir’s visit for the
                   6 United Nations General Assembly later that month. The opposition of
                   7 Plaintiff Broidy and others to these efforts helped prompt American Jewish
L L P




                   8 leaders to refuse to meet with the Emir at that gathering, thereby frustrating
F L E X N E R




                   9 the plans of the Qatari Defendants and Defendants Muzin, and Stonington to
                                                                                                          Formatted: Font: Not Bold
                  10 win over Jewish leaders.
                  11        56.66. The Zionist Organization of America (“ZOA”) reacted to that
S C H I L L E R




                  12 invitation with a press release on September 12, 2017, in which the
                  13 organization’s president, Morton A. Klein, stated that although he had
                  14 “received an invitation to meet with” the Emir of Qatar during the United
                  15 Nations General Assembly, he had “decided not to accept this invitation.”
B O I E S




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                  16 Mr. Klein further stated: “Any Jewish leader meeting with the Qatari Emir or
                  17 Crown Prince likely means well, but he will serve as an unwitting prop in
                  18 their PR ploy to whitewash the legitimate reasons why its Arab Muslim
                  19 neighbors are boycotting them and why Israel and Jews are horrified by them,
                  20 meaning it will only strengthen Qatar’s embrace of Iran and critical backing of
                                                                                                          Formatted: Font: Not Bold
                  21 Hamas.”
                  22        57.    Around that time and subsequently, Defendant Muzin, along with
                  23 others, also invited American Jewish leaders to Qatar.
                  24        58.    Plaintiff Broidy and others spoke out in response to Defendant
                  25 Muzin’s efforts on behalf of the State of Qatar.
                  26        67.    According to a February 13, 2018 article in Tablet Magazine,
                  27 “Muzin largely failed to persuade Jewish leaders to agree to meetings with           Formatted Table

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                   1 influential Qataris visiting New York for the opening of the United Nations
                   2 General Assembly.”
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                   3         68.   Soon after the failure of the United Nations General Assembly          single, No bullets or numbering

                   4 initiative, Muzin began to invite American Jewish leaders on all-expense-paid
                   5 trips to Qatar to further the State of Qatar’s public relations campaign.
                   6 Plaintiff Broidy and others again encouraged American Jewish leaders to
                   7 decline the invitations. These efforts were mostly successful in helping to
L L P




                   8 prompt many American Jewish leaders to decline to participate in the public
F L E X N E R




                   9 relations trips to Qatar.
                  10         69.   As part of his work for the State of Qatar, Muzin sought out high-
                  11 profile individuals who could be helpful in furthering the interests of the State
S C H I L L E R




                  12 of Qatar. On information and belief, Defendant Muzin recruited former
                  13 Arkansas Governor Mike Huckabee, a Republican candidate for President,
                  14 prominent media commentator, and father of current White House Press
                  15 Secretary Sarah Huckabee Sanders, to participate on a trip to Qatar. On
B O I E S




                  16 January 8, 2018, former Governor Huckabee tweeted “I’m in Doha,” and then
                  17 on January 12, 2018, tweeted, “Just back from a few days in surprisingly
                  18 beautiful, modern, and hospitable Doha[.]” On information and belief
                  19 Defendant Muzin acknowledged paying an individual $50,000 for doing work
                  20 related to influencing former Governor Huckabee to travel to Qatar and meet
                  21 with the Emir.
                                                                                                          Formatted: List Paragraph, Line spacing:
                  22         70.   On information and belief, Defendant Muzin also met with White         single, No bullets or numbering

                  23 House aide Victoria Coates, the Senior Director for International Negotiations
                  24 on the National Security Council and a former aide to Senator Ted Cruz, to
                  25 advocate for United States policies that would be supportive of the State of
                  26 Qatar. On information and belief, Defendant Muzin got Coates to have her
                  27 boss, Jason Greenblatt, the Special Envoy for International Negotiations, send       Formatted Table

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                   1 out the following tweet on February 9, 2018, that was supportive of Qatar:
                   2 “Qatar partnering with Israel can bring real relief to the people of Gaza.
                   3 Ending support for Hamas and focusing on humanitarian aid and
                   4 reconstruction will end the suffering.”
                   5         71.   Defendant Al-Rumaihi also engaged in efforts similar to
                   6 Defendants Muzin and Stonington with respect to the United States Jewish
                   7 Community. By means of example, at the invitation of unregistered Qatari
L L P




                   8 agent Joey Allaham, Al-Rumaihi attended a gala for the ZOA in New York
F L E X N E R




                   9 City in November 2017. Despite having vocally rejected an invitation by
                  10 Defendant Muzin to meet with the Emir at the United Nations General
                  11 Assembly in September 2017, after this dinner, the President of the ZOA
S C H I L L E R




                  12 (Morton A. Klein) visited Qatar on a trip that Muzin arranged.
                  13         C. The State Of Qatar Spent Millions of Dollars on Agents To
                                Further Its Public And Governmental Relations Efforts in the
                  14            United States
                  15         72.   According to the Center for Responsive Politics, the State of
B O I E S




                  16 Qatar spent nearly five million dollars on lobbyists and media relations in
                  17 2017 in an effort to gain the support of the United States government in
                  18 Qatar’s its diplomatic standoff with other Middle Eastern countries.
                  19         73.   According to FARA filings of the State of Qatar, it retained and
                  20 entered into written agreements with at least the following agents in the
                  21 second half of 2017 or the first quarter of 2018 in an effort to improve its
                  22 image in the United States.
                  23               a. Avenue Strategies Global LLC (July 17, 2017 agreement), a
                  24                  firm with which former Trump Campaign Manager Corey
                  25                  Lewandowski has been affiliated, at the rate of $150,000 per
                  26                  month, increased to $500,000 per month on September 5,
                  27                  2017, with an additional $250,000 added to the October              Formatted Table

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                   1                  invoice through a retroactive agreement dated February 28,
                   2                  2018;
                   3               b. Stonington Strategies LLC (August 24, 2017 agreement) at
                   4                  the rate of $50,000 per month, increased to $300,000 per
                   5                  month on November 1, 2017; 2
                   6               c. Ashcroft Law Group (June 7, 2017 agreement), at the rate of
                   7                  $2.5 million for a 90-day retainer;
L L P




                   8               d. Levick Strategic Communications (June 5, 2017 agreement) at
F L E X N E R




                   9                  the rate of $54,000 per month;
                  10               e. Information Management Services Inc. (June 19, 2017
                  11                  agreement) at the rate of $375,000 per month;
S C H I L L E R




                  12               f. Conover & Gould Strategic Communications (June 29, 2017
                  13                  agreement) at the rate of $100,000 per month;
                  14               g. Gallagher Group (July 11, 2017 agreement) at the rate of
                  15                  $25,000 per month, amended February 5, 2018 to $45,000 per
B O I E S




                  16                  month;
                  17               h. Audience Partners Worldwide (July 28, 2017 agreement) at an
                  18                  undisclosed rate;
                  19               i. McDermott, Will & Emery (July 13, 2017 agreement) at the
                  20                  rate of $40,000 per month;
                  21               j. Nelson Mullins Riley & Scarborough LLP (July 26, 2017
                  22                  agreement, renewed on March 19, 2018) at the rate of
                  23                  $100,000 per month for three months;
                  24
                  25 2
                       Stonington notably has not filed its mandatory supplemental FARA filing
                  26 disclosing the specifics of its FARA activities. That filing was due in March
                     2018. 28 C.F.R. § 5.200.
                  27                                                                                     Formatted Table

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                   1           k. Portland PR (December 6, 2017 agreement) at the rate of
                   2              $123,195 per month;
                   3           l. Mercury Public Affairs (September 7, 2017 agreement) at the
                   4              rate of $120,000 per month;
                   5           m. Bluefront Strategies (September 12, 2017 agreement)
                   6              $100,000;
                   7           n. Hawksbill Group (August 1, 2017 agreement) $165,000;
L L P




                   8           o. Vitello Consulting (December 6, 2017 agreement) $10,000, as
F L E X N E R




                   9              a subcontractor of Stonington Strategies;
                  10           p. Iron Bridge Strategies (February 1, 2018 agreement) at the
                  11              rate of $25,000 per month;
S C H I L L E R




                  12           q. Tigercomm LLC (January 11, 2018 agreement) at the rate of
                  13              $30,000 per month;
                  14           r. Venable LLP (January 31, 2018 agreement) at the rate of
                  15              $150,000 per month;
B O I E S




                  16           s. Husch Blackwell Strategies (February 1, 2018 agreement) at
                  17              the rate of $25,000 per month;
                  18           t. SGR Government Relations & Lobbying (February 1, 2018
                  19              agreement) at the rate of $40,000 per month;
                  20           u. Pillsbury Winthrop Shaw Pittman LLP (March 15, 2018
                  21              agreement) at rates between $500 and $955 per hour;
                  22           v. Lumen8 Advisors, LLC (March 15, 2018 agreement) at the
                  23              rate of $1,000 per hour; and
                  24           w. Ballard Partners (March 29, 2018 Agreement) at the rate of
                  25              $175,000 per month for one year.
                  26
                  27                                                                                   Formatted Table

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                       III.   DEFENDANTS BECAME INCREASINGLY FRUSTRATED BY
                   1          PLAINTIFF BROIDY’S OUTSPOKEN CRITICISM OF THE
                              STATE OF QATAR
                   2                                                                                       Formatted: List Paragraph, Line spacing:
                              59.74. Plaintiff Broidy is a prominent business and civic leader who has     single, No bullets or numbering
                   3
                       actively served in leadership roles in Jewish organizations and the Republican
                   4
                       Party for decades., and during pertinent periods frequently and directly
                   5
                       interacted with the President of the United States. His advocacy against
                   6
                       terrorism and extremism is well known. Plaintiff Broidy served on the
                   7
L L P




                       Homeland Security Advisory Council from 2006 to 2009 and specifically on
                   8
                       the Future of Terrorism Task Force of that Council. The “Findings” report of
F L E X N E R




                   9
                       that Task Force, issued on January 11, 2007, stated: “Factors that will
                  10
                       influence the future of terrorism include: the leadership of the terrorists, US
                  11
                       counterterrorism efforts, status of political reform in Muslim nations and the
S C H I L L E R




                  12
                       elimination of safe havens[.]” (emphasisEmphasis added.) This report was
                  13
                       directed at and, on information and belief, was known to countries operating
                  14                                                                                       Formatted: Font: Not Bold
                       as safe havens for terrorist organizations, including the State of Qatar.
                  15
B O I E S




                              75.   Since September 11, 2001, Plaintiff Broidy has increased his
                  16
                       involvement in supporting the safety of his homeland, the United States. As
                  17
                       part of his involvement, he became active in fundraising for the Republican
                  18
                       Party because its views on how to defend the United States were aligned with
                  19
                       his own. He also became involved in numerous civic activities involving
                  20
                       counter-terrorism to promote the security of the United States.
                  21
                              76.   Beginning in March 2017, Plaintiff Broidy, among others,
                  22
                       became a vocal critic of the State of Qatar’s support for terrorists and friendly
                  23
                       relationship with Iran, which Mr. Broidy sees as a major threat to the security
                  24
                       of the United States and its allies, and began to support financially public
                  25
                       initiatives – such as conferences – to educate Americans about Qatar’s support
                  26                                                                                       Formatted: Underline
                       for terrorist and extremist organizations.
                  27                                                                                       Formatted Table

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                   1          60.     Plaintiff Broidy also has substantial business ties to the UAE, a
                   2 regional rival of Qatar. Through his work with a contractor to the government
                   3 of the UAE, he has been involved in strengthening the UAE’s defense
                   4 capabilities and its capabilities to combat terrorist organizations, including
                   5 those organizations being provided safe harbor by the State of Qatar.
                   6          77.     InDuring pertinent periods Plaintiff Broidy regularly conveyed
                   7 this criticism of Qatar in meetings with United States Government officials
L L P




                   8 and civic leaders, including the President of the United States, Plaintiff Broidy
F L E X N E R




                   9 has been critical of Trump.
                                                                                                                   Formatted: No bullets or numbering
                  10          78.     Defendant the State of Qatar for its coziness with Iran and its
                  11 facilitationwas aware of the work of terrorists. Plaintiff Broidy’s influential
S C H I L L E R




                  12 criticism. In initial discussions with Defendants Muzin and Stonington, Qatari
                  13 officials told Muzin of their concerns about Plaintiff Broidy. As Defendant
                  14 Muzin recounted, “They knew about him [Broidy]” and “knew that he
                  15 [Broidy] had been influential” in shaping the White House’s views on Qatar.
B O I E S




                  16          61.     Qatari officials complained in particular about President Trump’s recorded

                  17 remarks at a June 2017 meeting of the Republican National Committee: “We’re having a
                                                                                                                   Formatted: Font: 12 pt
                  18 dispute with Qatar — we’re supposed to say Qatar. It’s Qatar, they prefer. I prefer that      Formatted: Font: 12 pt

                  19 they don’t fund terrorism.” At the same meeting, President Trump publicly identified
                                                                                                                   Formatted: Font: 12 pt
                  20 Plaintiff Broidy in the audience and stated: “Elliott Broidy is fantastic.” That
                  21 acknowledgment was followed by a round of applause. opposition to Qatar’s policies
                  22 was well known.
                  23          79.
                  24          80.     Defendant Muzin has admitted that officials of Defendant the
                  25 State of Qatar, with whom he met shortly after President Trump’s remarks
                  26 at that June 2017 meeting, stated: “Broidy was like sitting in the front row
                  27 and that he had somehow prompted Trump to say that.”                                          Formatted Table

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                   1        81.    After Defendants Muzin and Stonington were retained by the
                   2 State of Qatar, Mr. Broidy extended his criticism of the State of Qatar to the
                   3 efforts by Muzin and Stonington to arrange meetings between the Emir and
                   4 American Jewish leaders.
                                                                                                          Formatted: List Paragraph, Line spacing:
                   5        62.82. Beginning in or around September 2017, Plaintiff Broidy and            single, No bullets or numbering

                   6 others began tellingto urge American Jewish leaders that they shouldto decline
                   7 the invitations of the State of Qatar and Defendant Muzin to meet with the
L L P




                                                                                                          Formatted: Font: Not Bold
                   8 Emir in New York City and/or to visit Qatar.
F L E X N E R




                   9        63.83. Additionally, onPlaintiff Broidy was not alone in this effort. On
                  10 September 15, 2017, Forbes published a piece by a contributing writer titled
                  11 “Why is Qatar offering to trade dead Israelis for meetings with live Jews?”
S C H I L L E R




                  12 The article reported that an offer was being made to American Jewish leaders
                  13 to return the corpses of two Israeli soldiers whom Hamas had killed if those
                                                                                                          Formatted: Font: Not Bold
                  14 leaders would meet with the Emir. The article stated:
                  15               a. Rabbi Shmuel Boteach (who according to Newsweek is one of
B O I E S




                  16                  the ten most influential rabbis in the United States) stated that
                  17                  “all who agreed to whitewash the terror-stained hands of the
                                                                                                          Formatted: Font: Not Bold
                  18                  emir would be condoning murder.”
                  19               b. The State of Qatar hired Defendant Muzin, who “may have
                  20                  hinted to some Jewish leaders that his lobbying had the
                  21                  ‘blessing’ of Israel’s elected government.” But Israel’s
                  22                  Ambassador to the United States, Ron Dermer, denied this,
                  23                  stating: “It is not true.”
                  24               c. The State of Qatar has admitted to giving approximately $1.4
                  25                  billion to Hamas over the past few years. (Hamas is
                  26                  designated by the United States as a terrorist organization).
                  27                                                                                      Formatted Table

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                   1               d. Qatar is “like Woodstock for terrorists,” and has also “been
                   2                  accused of hosting the Somali terrorist group Al-Shabab, an al
                   3                  Qaeda affiliate.”
                   4               e. Defendant Muzin claimed that he contacted prominent
                   5                  American Jewish leaders, but that “[e]ach“Each denied
                   6                  agreeing to any meeting with Qatar and two of these leaders
                   7                  denied ever even speaking to Muzin.” “Like a child’s game
L L P




                   8                  of telephone, Muzin apparently told each Jewish leader that a
F L E X N E R




                   9                  different prominent Jew had already agreed to meet the
                  10                  emirEmir. This didn’t turn out to be true.”
                                                                                                         Formatted: List Paragraph, Line spacing:
                  11         64.84. Although many American Jewish leaders declined the invitations       single, No bullets or numbering
S C H I L L E R




                  12 given in September 2017, Defendant Muzin continued his attempts to arrange
                  13 trips to Qatar for American Jewish leaders. These trips furthered the State of
                  14 Qatar’s strategy to court favor with high-profile American Jewish leaders,
                  15 whom they believed could shift United States policy in favor of the State of
B O I E S




                  16 Qatar. and alleviate pressure caused by the economic embargo on it. On
                  17 information and belief, in some instances, DefendantDefendants Muzin and
                  18 Stonington paid for the trips taken. Among those participating in the trips
                                                                                                         Formatted: Font: Not Bold
                  19 were:
                                                                                                         Formatted: Indent: Left: 1"
                  20               a. Rabbi Shmully Hecht, co-founder and Rabbinical Advisor of
                  21                  Shabtai, the Jewish Society at Yale University, who wrote in a
                  22                  January 25, 2018 article in The Times of Israel, an online
                  23                  Israeli newspaper: “A few months ago, Nick Muzin asked me
                  24                  to attend meetings with influential global thought leaders who
                  25                  are also prominent in the Jewish world, and the Emir of Qatar.
                  26                  . . . Many prominent Jewish leaders have flown to Qatar and
                  27                  have spent quality time with the country’s leadership.”            Formatted Table

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                   1              b. Alan Dershowitz, the Felix Frankfurter Professor of Law,
                   2                 Emeritus, at Harvard Law School, who wrote in a January 12,
                   3                 2018 article in The Hill: “I just returned from a private visit
                   4                 to Qatar, at the invitation of and paid for by the Emir. . . . I
                   5                 observed that Qatar is quickly becoming the Israel of the Gulf
                   6                 States, surrounded by enemies, subject to boycotts and
                   7                 unrealistic demands, and struggling for its survival.”
L L P




                   8                 Defendant Muzin acknowledged arranging for Dershowitz to
F L E X N E R




                   9                 make this trip.
                  10              c. MrMorton A. Klein, the President of ZOA, who, despite his
                  11                 initial reluctance to meet with the Emir at the United Nations,
S C H I L L E R




                  12                 ultimately decided to travel to Qatar in order to have the
                  13                 chance to confront the Emir, wrote in a January 30, 2018
                  14                 article in Haaretz: “I decided it was important for me to
                  15                 speak truth to power, especially when the Emir repeatedly
B O I E S




                  16                 invited me to give them my views on what they needed to
                  17                 do.”
                  18              d. Malcolm Hoenlein, the executive vice chairman of the
                  19                 Conference of Presidents of Major Jewish Organizations.
                  20                 (During approximately the same time period in 2017,
                  21                 Defendant Al Thani attended the wedding of Hoenlein’s
                  22                 daughter).
                                                                                                           Formatted: List Paragraph, Line spacing:
                  23        65.85. Despite these successes, there was nonetheless significant              single, No bullets or numbering

                  24 backlash in the American Jewish community against Defendant Muzin’s work
                  25 on behalf of the State of Qatar. For example:
                                                                                                           Formatted: Indent: Left: 1"
                  26              a. On January 15, 2018, Rabbi Shmuel Boteach published “An
                                                                                                           Formatted: Font color: Auto
                  27                 Open Letter to the Emir of Qatar,” stating: “Newspapers are           Formatted Table

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                   1                  filled with reports that you have hired an Orthodox Jew, Nick
                   2                  Muzin, of Stonington Strategies, and his partners, as agents of
                   3                  Qatar to promote your image among American Jews, and to
                   4                  lobby the US government. There is non-stop chatter of rabbis,
                   5                  writers and community leaders accepting free trips to Doha,
                   6                  which is big news because your regime funds Hamas —
                   7                  which is responsible for an endless stream of funerals in
L L P




                   8                  Israel.”
F L E X N E R




                   9               b. A spokesman for the Israeli Embassy in Washington
                  10                  denounced the trips to Qatar. See Haaretz on January 31,
                  11                  2018 (“We oppose this outreach effort in the Jewish and pro-
S C H I L L E R




                  12                  Israel community.”) and the New York Times on February 9,
                  13                  2018 (“We do not approve of these visits by the Jewish
                  14                  organizations to Qatar.”).
                                                                                                          Formatted: List Paragraph, Line spacing:
                  15         66.86. Plaintiff Broidy did not make any public statements against the       single, No bullets or numbering
B O I E S




                  16 trips to Qatar, but he and others did speak privately criticize them with other
                  17 American Jewish leaders. Plaintiff Broidy also funded at least two high-
                  18 profile conferences in Washington, D.C. devoted to discourage them from
                  19 going on the trips being organized by Defendant Muzin on behalfscrutiny of
                  20 the State of Qatar.
                  21         87.   Plaintiff Broidy’s past and present activities also put him on the
                  22 State of Qatar’s radar. On information and belief, Plaintiff Broidy’s efforts
                  23 opposing the State of Qatar, and in particular the efforts of Muzin and
                  24 Stonington on Qatar’s behalf, only enhanced Muzin’s pre-existing animus
                  25 against Broidy, which arose from Broidy’s successful efforts in 2016 to block
                  26 Muzin from receiving a highly questionable commission on a large political
                  27 donation that Muzin believed he had been instrumental in arranging.                  Formatted Table

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                       IV.   DEFENDANTS TARGET BROIDY
                   1
                   2         88.   In connection with his work for the State of Qatar, Defendant
                   3 Muzin had weekly meetings at the Embassy of Qatar in Washington, D.C.,
                   4 where he discussed his ongoing efforts. On information and belief, the
                   5 agendas for these meetings were set by Defendants Al Thani and Al-Rumaihi,
                   6 and the meetings began in 2017 in anticipation of the Emir’s April 2018 visit
                   7 to the United States for bilateral meetings with the Trump Administration and
L L P




                   8 visits to Capitol Hill. On information and belief, at those meetings, Defendant
F L E X N E R




                   9 Muzin became increasingly upset about ongoing political activities. Plaintiff
                  10 Broidy’s efforts to undermine his lobbying for the State of Qatar and felt that
                  11 these were personal attacks on him. On information and belief, Defendant
S C H I L L E R




                  12 Muzin brought up Plaintiff Broidy in these meetings as an obstacle that
                  13 needed to be dealt with for his lobbying on behalf of Qatar to succeed.
                                                                                                          Formatted: List Paragraph, Line spacing:
                  14         67.89. As Defendant Muzin later admitted: “Broidy’s name comes up            single, No bullets or numbering

                  15 in Embassy meetings often.” At those meetings, as Defendant Muzin laterHe
B O I E S




                  16 also admitted: , “I definitely identified him as somebody who, was not, didn’t
                  17 like them too much.” Defendant Muzin also stated: “There’s no question I
                  18 had conversations with them [the Qataris] about Elliott.”
                  19         90.   The efforts undertaken in September and October 2017 by
                  20 Defendant Muzin, acting as the agent of the State of Qatar and the Agent
                  21 Defendants reacted, to Plaintiff Broidy’s exercise ofinfluence the United
                  22 States Jewish community were manifestly unsuccessful. As alleged above, by
                  23 and large, American Jewish leaders declined to meet with the Emir of Qatar
                  24 when he was at the United Nations and declined offers of all-expenses-paid
                  25 trips to visit Qatar. Notwithstanding Muzin’s lack of success, the State of
                  26 Qatar nevertheless raised his monthly payment to $300,000 a month in
                  27 November 2017 – shortly before the attacks on Plaintiffs began. On                   Formatted Table

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                   1 information and belief, the increase in Muzin’s monthly pay was necessary to
                   2 support activities related to the hacks for which Muzin had responsibility.
                   3         91.    Although Plaintiff Broidy was not the only outspoken critic of
                   4 the State of Qatar and of Muzin’s efforts on its behalf, on information and
                   5 belief, Defendants the State of Qatar, Al Thani, Al-Rumaihi, Stonington, and
                   6 Muzin, targeted Plaintiff Broidy specifically because he had exercised his
                   7 right to speak out on an issue of national and international concern by
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                   8 engaging in and by doing so, had negatively impacted Qatar’s interests.
                                                                                                           Formatted: List Paragraph, Line spacing:
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                   9         68.92. Thereafter, the Qatari Defendants and the Agent Defendants             single, No bullets or numbering

                  10 agreed to engage in and did in fact engage in or coordinate a series of attacks
                  11 on the hacks and/or other misappropriation of the private communications,
S C H I L L E R




                  12 documents, trade secrets and intellectual property of Plaintiff Broidy, his wife
                  13 and his companyPlaintiffs, and unlawfully distributed those materials to the
                  14 media.
                  15 I.      PLAINTIFFS’ EMAILS WERE HACKED, STOLEN, AND
B O I E S




                             ALTERED.
                  16
                       V.    DEFENDANTS EXECUTED A SOPHISTICATED
                  17         CYBERATTACK ON PLAINTIFFS
                  18         A. Defendants Unlawfully Accessed Plaintiffs’ Computer Network,
                                Private Communications, Documents, Trade Secrets And
                  19            Intellectual Property
                  20
                             93.    On information badand belief, sometime prior to December 27,
                  21
                       2017, Defendant State of Qatar directed its espionage and acting directly or
                  22
                       through the Agent Defendants, retained the GRA Defendants to coordinate an
                  23
                       offensive cyber and intelligence capabilities towardinformation operation
                  24
                       against Plaintiffs, including by infiltrating Plaintiffs’ computer networks in
                  25
                       Los Angeles, California and obtaining unauthorized access to Google email
                  26
                  27                                                                                       Formatted Table

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                   1 accounts of United States persons associated with Plaintiffs. Servers hosting
                   2 those accounts are located in California.
                   3         94.   On information and belief, the GRA Defendants introduced
                   4 Defendant State of Qatar to known and unknown threat actors to execute the
                   5 attacks, and supervised this work and were responsible for the overall
                   6 execution of the project.
                   7         95.   Approximately one month before the cyberattacks against
L L P




                   8 Plaintiffs and their facilitiesassociates began, on information and belief, in
F L E X N E R




                   9 October 2017 the GRA Defendants also opened a subsidiary of GRA
                  10 organized under the laws of Gibraltar and physically located in Doha, Qatar.
                                                                                                          Formatted: List Paragraph, Line spacing:
                  11         69.96. On information and belief, the GRA Defendants were actively           single, No bullets or numbering
S C H I L L E R




                  12 recruiting new employees within the territory of the United Statessmall
                  13 community of former U.S. government offensive cyber operatives, and the
                  14 GRA Defendants made it clear within that community that they had been
                  15 retained to conduct or coordinate offensive cyber operations on behalf of
B O I E S




                  16 Defendant State of Qatar.
                  17         70.   On December 27, 2017, Plaintiff Rosenzweig received an email
                  18 on her computer that appeared to be a Gmail security alert. As requested by
                  19 the email, she entered her credentials.
                  20               1. On information and belief, that email was a phishing The
                                      Rosenzweig Attack
                  21
                             97.   Robin Rosenzweig, a U.S. citizen, serves as legal counsel to
                  22
                       Plaintiffs and lives in Los Angeles. On information and belief, Ms.
                  23
                       Rosenzweig has an email account through Gmail, an email service provided
                  24
                       by Google LLC (“Google”), a company headquartered in Mountain View,
                  25
                       California. Ms. Rosenzweig’s Gmail account contains private
                  26
                       communications and requires at least a username and password for access.
                  27                                                                                      Formatted Table

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                   1         98.    On December 27, 2017, Ms. Rosenzweig received an email at her
                   2 Gmail account that appeared to be an account security alert from Google. On
                   3 information and belief, the email used Google trademarks without the
                   4 permission of Google, including the Google logo and the Gmail logo. The
                   5 email was sent from a Gmail address, which had been disguised to look like
                   6 an authentic security alert from Google. The email purported to alert Ms.
                   7 Rosenzweig that the security on her account had been compromised and that
L L P




                   8 she needed to verify or change her account credentials. When she clicked on
F L E X N E R




                   9 the link in the email it directed her to a TinyURL website that appeared as if it
                  10 was an authentic Google account login page. TinyURL is a redirecting
                  11 service that provides shortened URLs that redirects a website visitor to the
S C H I L L E R




                  12 website associated with the longer URL. It is known to be used by hackers
                  13 and scammers to avoid detection and circumvent spam and malware filters.
                  14 The URL address for that page was http://tinyurl.com/yaw4jmpn. When the
                  15 TinyURL link was clicked it redirected Ms. Rosenzweig to the following
B O I E S




                  16 website that contained Google’s logo and appeared to be an authentic Google
                  17 account update page: https://mailchallenge-service-userupdate-myprofile-
                  18 authsupport-
                  19 key.userupdate.info/m/pn?tR0Il12=cHpXbG8yeXhyR0lOTTIxdW5KamhMM
                  20 jln&nrn=SHo5dm5KNHREYVdpbkpFNQ==&cr=SkQ9PQ==&lan=en&rD3c
                  21 In=&rCv=WGxiZFh2YmRYd3Bt&VrCe2Ph=1&VrCe2Em=. However, that
                  22 page was a fraudulent login page that is no longer active. The TinyURL link
                  23 has been terminated by TinyURL for being used for spam, fraud, malware, or
                  24 other illegal activity.
                  25         99.    On information and belief, that email was a spearphishing email
                  26 designed to gain unauthorized access into Plaintiffto Ms. Rosenzweig’s
                  27 personal Google accounts, which which include the full suite of Google’s             Formatted Table

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                   1 online products, such as Gmail, Google Drive, Google Calendar, Google
                   2 Contacts, and YouTube. Those accounts contained, among other things,
                   3 personal emails, business emails, usernames and passwords to access other
                   4 email accounts, including Plaintiff Rosenzweig’s non-Google accounts
                   5 belonging to Ms. Rosenzweig, including an account on the computer network
                   6 of Plaintiff BCM. Without authorization and in violation of Google’s Terms
                   7 of Service, the Defendant attackers used Ms. Rosenzweig’s credentials to
L L P




                   8 unlawfully access passwords stored by Ms. Rosenzweig on Google’s servers.
F L E X N E R




                   9 Gmail Program Policies and Google’s Terms of Service, which are expressly
                  10 governed by the laws of California, prohibit illegal uses as well as those of
                  11 Plaintiffs sending unauthorized email of any person without their consent.
S C H I L L E R




                  12        100. On information and belief, Ms. Rosenzweig’s Gmail account was
                  13 accessed and modified unlawfully and without her consent on or around
                  14 January 3, 2018. The Defendant attackers modified Ms. Rosenzweig’s email
                  15 account settings so that emails containing “Mail.ru,” “viewed,” or “alert” were
B O I E S




                  16 marked as read and moved immediately to her trash. The Defendant attackers
                  17 did this to ensure that any legitimate security alerts would not be viewed by
                  18 Ms. Rosenzweig. Mail.ru is a Russian email service that publishes an app that
                  19 can be used to send and receive emails on Mail.ru or other email services like
                  20 Gmail. Unbeknownst to Ms. Rosenzweig, on January 4, 2018, Ms.
                  21 Rosenzweig received a true security alert – that went directly to her trash –
                  22 notifying her that a user or users of the Mail.ru app had obtained access to
                  23 read, send, delete, and manage Ms. Rosenzweig’s Gmail account, all without
                  24 her awareness or consent.
                  25               2. The Mowbray Attack
                                                                                                          Formatted: List Paragraph, Line spacing:
                  26        71.101.      Joel Mowbray is a U.S. citizen and resident of New York,         single, No bullets or numbering

                  27 New York. Prior to December 27, 2017, Mr. Mowbray was known by                       Formatted Table

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                   1 Defendants to be an associate of Plaintiff Broidy and BCM.as well as a critic
                   2 of both the Defendant State of Qatar and Defendant Muzin.
                   3          72.   Beginning January 16, 2018 and continuing until at least March
                   4 2, 2018, multiple instances of unlawful access to corporate email accounts at
                   5 BCM occurred. The accounts targeted included but were not limited to
                   6 Plaintiff Broidy’s own email account.
                   7          73.   Although initial forensic analysis of the BCM email server logs
L L P




                   8 suggested that the unauthorized access originated from IP addresses in the
F L E X N E R




                   9 United Kingdom and the Netherlands, a more thorough review of server data
                  10 from February 14, 2018 revealed that the attack had originated from an IP
                  11 address in Qatar. On information and belief, the IP addresses in the
S C H I L L E R




                  12 Netherlands and the United Kingdom originally identified were used to mask
                  13 the true identity of the source of the intrusion. Plaintiff Broidy’s advanced
                  14 cyber unit was able to uncover problems with the attacker’s obfuscation
                  15 technique on February 14, 2018, which revealed that the attack originated in
B O I E S




                  16 Qatar.
                  17 I.       DEFENDANT THE STATE OF QATAR, ACTING
                              THROUGH STATE-OWNED INSTRUMENTALITIES AND
                  18          THE AGENT DEFENDANTS, DELIBERATELY
                              OBTAINED AND DISSEMINATED STOLEN AND
                  19          ALTERED EMAILS AND DOCUMENTS (WHILE
                              KNOWING THEY WERE STOLEN), AND ENGAGED IN A
                  20          HOSTILE CAMPAIGN AGAINST PLAINTIFF BROIDY.
                  21          102. On information and belief, Mr. Mowbray has a private Gmail
                  22 account that he uses to send and receive personal and business emails. Mr.
                  23 Mowbray’s Gmail account contains private communications and requires at
                  24 least a username and password for access. Beginning on or around December
                  25 27, 2017, the same day as Ms. Rosenzweig was attacked, Mr. Mowbray also
                  26 began to receive a barrage of spearphishing emails disguised as Google News
                  27 stories that bore Google trademarks used without Google’s permission and             Formatted Table

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                   1 were sent through Google’s Gmail service in violation of Google’s Terms of
                   2 Service and Gmail’s Program Policies. The spearphishing, news-alert emails
                   3 contained links purportedly to news stories about Mr. Mowbray’s family,
                   4 discrete projects on which Mr. Mowbray previously worked, and Plaintiff
                   5 Broidy. These topics were not the subject of general public awareness but
                   6 they, and their importance to Mr. Mowbray, were known to Defendant Muzin.
                   7        103. On information and belief, when Mr. Mowbray clicked on the
L L P




                   8 link in one of the news stories, it directed him to a shortened URL website,
F L E X N E R




                   9 like TinyURL or Bitly, that appeared as if it was an authentic Google account
                  10 login page. For example, one of the URL addresses
                  11 was https://tinyurl.com/yckx3cny. When this TinyURL link was clicked, it
S C H I L L E R




                  12 redirected Mr. Mowbray to a website that asked for his Google login
                  13 credentials. Mr. Mowbray provided his credentials to at least one of these
                  14 malicious websites that contained Google’s trademarks without the permission
                  15 of Google. TinyURL has now terminated this website because it has been
B O I E S




                  16 used for spam, fraud, malware, or other illegal activity.
                  17        104. On information and belief, Mr. Mowbray had two-factor
                  18 authentication enabled for his Google account on or about December 27,
                  19 2017. Two-factor authentication is an extra layer of security that requires not
                  20 only a password and username for login, but also something that only that user
                  21 has available to them, such as a mobile phone or other email address. Mr.
                  22 Mowbray’s second factor was his mobile phone, which he had set to receive
                  23 verification text messages or a phone call from Google containing a
                  24 verification code.
                  25        105. Beginning on or about December 27, 2017, Mr. Mowbray
                  26 received a call from a United States telephone number purportedly associated
                  27 with Google and containing a recording providing the verification code for his       Formatted Table

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                  13 account. Contemporaneous with that call from Google, Mr. Mowbray also
                  14 received from the Defendants several spearphishing text messages and calls
                  15 from U.S. phone numbers that were purportedly from Google. These phone
B O I E S




                  16 numbers are associated with U.S. phone carriers such as Hook Mobile. These
                  17 text messages and calls directed Mr. Mowbray to log in to his Gmail account
                  18 so that he could verify his account. Mr. Mowbray also received spearphishing
                  19 text messages such as those pictured below, and phone calls from phone
                  20 numbers with U.S. area codes and registered to U.S. carriers, such as Hook
                  21 Mobile, which mimicked two-factor authentication messages and made the
                  22 phishing emails appear authentic.
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                  27                                                                                    Formatted Table

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                             106. The Defendant attackers sent Mr. Mowbray these messages
                  11
                       because they could not access his Google account without his two-factor
S C H I L L E R




                  12
                       authentication                                                 code.
                  13
                             107. On                                                  information
                  14
                       and belief,                                                    Defendants
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B O I E S




                       also sent emails                                               to Mr.
                  16
                       Mowbray to                                                     obtain his two-
                  17
                       factor authentication code. These emails, such as the one pictured below,
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                   1 were sent from a misleading Gmail account with the name “Gmail” and email
                   2 addresses, such as mymail.securealerts@gmail.com
                   3 and noreply.secureservicealerts@gmail.com, which were designed to appear
                   4 as if they were from authentic Google security accounts. These emails used
                   5 Google trademarks and logos without the permission of Google.
                   6
                             108. These spearphishing emails were designed to lure Mr. Mowbray
                   7
L L P




                       to a malicious website seeking his Google login credentials. For example, one
                   8
                       of the links went to a Bitly URL address: http://bit.ly/2lber5Z. If the Bitly
F L E X N E R




                   9
                       link had been clicked, it would have redirected Mr. Mowbray to the following
                  10
                       website that contained Google’s logo and appeared to be an authentic Google
                  11
                       account page at the same domain (userupdate.info) as one of the spearphishing
S C H I L L E R




                  12
                       emails that Ms. Rosenzweig received seeking her Google login
                  13
                       information: https://authsupport-myprofilelogon-servicemail-userowavalue-
                  14
                       key.userupdate.info/m/vc/?tR0Il12=bnpFZ28zcXZwelNOTTIxdW5KamhM
                  15
B O I E S




                       Mjln&nrn=Vk49PQ==&cr=SkQ9PQ==&lan=en&rD3cIn=&rCv=WGxiZFh2
                  16
                       YmRYd3A0&VrCe2Ph=&VrCe2Em. As with Ms. Rosenzweig, this link led
                  17
                       to a fraudulent login page that is no longer active. The Bitly link was created
                  18
                       on December 27, 2017, which is contemporaneous with the email that Mr.
                  19
                       Mowbray received. This Bitly link has been terminated by Bitly for
                  20
                       suspicious activity.
                  21
                                    3. The Executive Assistant Attack
                  22
                             109. Plaintiff Broidy’s Executive Assistant (“the Executive
                  23
                       Assistant”) is a U.S. citizen and resident of Los Angeles, CA. She is an
                  24
                       employee of Plaintiff BCM. She has a private Gmail account that she uses to
                  25
                       send and receive personal emails. Her Gmail account contains private
                  26
                       communications and requires at least a username and password for access.
                  27                                                                                       Formatted Table

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                   1        110. On information and belief, on or around January 14, 2018, just
                   2 weeks after Ms. Rosenzweig and Mr. Mowbray were attacked, the Executive
                   3 Assistant began to receive spearphishing emails disguised as Google security
                   4 alerts, which bore Google trademarks used without Google’s permission and
                   5 were sent through Google’s Gmail service in violation of Google’s Terms of
                   6 Service and Gmail’s Program Policies.
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L L P




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F L E X N E R




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                   1         111. On information and belief, one of the spearphishing emails
                   2 contained a fictitious security alert with a picture of her face and part of her
                   3 phone number. The email was sent from a misleading Gmail account with the
                   4 name “Gmail Account” and the email
                   5 address noreply.user.secure.services@gmail.com, which had been drafted to
                   6 look like an authentic security alert from Google. The email purported to alert
                   7 the Executive Assistant that the security on her account had been
L L P




                   8 compromised and that she needed to verify or change her Google credentials.
F L E X N E R




                   9 When she clicked on the link in the email, it directed her to an Owly address,
                  10 which redirected her to a website that appeared as if it was an authentic
                  11 Google account login page. Like TinyURL and Bitly, Owly is a redirecting
S C H I L L E R




                  12 service that provides shortened URLs that redirect a website visitor to the
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B O I E S




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                   1 website associated with the longer URL. It is known to be used by hackers
                   2 and scammers to avoid detection and circumvent spam and malware filters.
                   3 The URL address for that page was http://ow.ly/FJZ030hLxof. When the
                   4 Owly link was clicked, it redirected her to the following website that contains
                   5 Google’s logo and appeared to be an authentic Google account login
                   6 page: http://loms.96.lt/BDHRov58?platform=hootsuite. However, that page
                   7 was a fraudulent login page that is no longer active.
L L P




                   8               4. The BCM Attack
F L E X N E R




                   9
                             112. Plaintiff BCM has an exchange server physically located in Los
                  10
                       Angeles, California. The server allows BCM employees to send and receive
                  11
                       business and occasional personal emails. Plaintiff Broidy, his Executive
S C H I L L E R




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                   1 Assistant, and several other employees all have secure email accounts on the
                   2 BCM server containing private communications that require at least a
                   3 username and password for access.
                   4        113. On information and belief, efforts to gain access to Plaintiff
                   5 BCM’s network appear to have commenced as early as January 7, 2018. The
                   6 first successful access was gained on January 16, 2018, just two days after the
                   7 successful spearphishing campaign on Plaintiff Broidy’s Executive Assistant.
L L P




                   8 The Defendant attackers maintained unauthorized and unlawful access to the
F L E X N E R




                   9 BCM email server until at least February 25, 2018. During this period, there
                  10 were thousands instances of unlawful and unauthorized access to corporate
                  11 email accounts at Plaintiff BCM, including but not limited to unlawful and
S C H I L L E R




                  12 unauthorized connections to Plaintiff Broidy and his Executive Assistant’s
                  13 email accounts at Plaintiff BCM.
                  14        114. From January 7, 2018 to February 25, 2018, several instances of
                  15 unlawful and unauthorized access occurred through Virtual Private Networks
B O I E S




                  16 (“VPNs”) that masked the IP addresses from which the attacks originated.
                  17 VPNs route internet communication through additional networks to hide the
                  18 original source of the connection. Some of these VPN connections occurred
                  19 via IP addresses that are allocated to United States companies that lease them
                  20 to third parties. For example, one of the suspicious IP addresses associated
                  21 with the intrusions into the BCM server was leased from Micfo LLC, a
                  22 company headquartered in Charleston, South Carolina.
                  23        115. On February 14, 2018 and February 19, 2018, unlawful and
                  24 unauthorized connections originated from an IP address in Qatar. These two
                  25 unlawful and unauthorized intrusions into BCM’s California email server
                  26 were not masked by VPNs, even though the connections immediately before
                  27 and immediately after the access were routed through VPNs, possibly because         Formatted Table

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                   1 the VPN failed or because the accessing computer automatically connected to
                   2 Plaintiff BCM’s network before the VPN could be activated. These
                   3 connections revealed the actual location of a computer or computers accessing
                   4 Plaintiff BCM’s network from an IP address in Qatar.
                   5        116. These attacks resemble known international attacks by
                   6 sophisticated cyber-hackers. Previous attacks against other victims by these
                   7 same threat actors have involved similar fraudulent news alerts, malicious
L L P




                   8 Google login pages, email addresses designed to resemble legitimate Google
F L E X N E R




                   9 security addresses, fraudulent two-factor authentication messages, and the use
                  10 of Mail.ru to control victims’ accounts. In addition, one of the IP addresses
                  11 used by the Defendants to access Plaintiffs’ servers without authorization has
S C H I L L E R




                  12 been observed in other known, international attacks by these threat actors.
                  13 VI.    DEFENDANTS EXECUTED A DISINFORMATION CAMPAIGN
                            AGAINST PLAINTIFF BROIDY BY DISSEMINATING THE
                  14        MATERIALS STOLEN FROM PLAINTIFFS
                  15        117. After unlawfully obtaining Plaintiffs’ private communications,
B O I E S




                  16 emails, documents and intellectual property, the Defendants viewed the stolen
                  17 documents in an email application on their computers and converted them to
                  18 PDFs for dissemination to third parties. In multiple instances, this conversion
                  19 process resulted in information from the Defendants’ computers being
                  20 transferred as metadata to the PDF documents that were subsequently
                  21 disseminated to third parties. Many of the PDFs disseminated to third parties
                  22 contained time stamps different from the Pacific Time Zone associated with
                  23 the original documents – and instead bear time stamps from the Central and
                  24 Eastern Time Zones.
                  25        118. Upon information and belief, some of the unlawfully obtained
                  26 documents were given to United States media outlets in hard-copy form by
                  27 hand-delivery within the United States.                                             Formatted Table

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                   1        119. On February 24, 2018, Defendants registered the email address
                   2 “LA.Confidential@mail.com” through the company 1&1 Internet, Inc., which
                   3 operates in the United States through offices in Chesterbrook, Pennsylvania.
                   4 Mail.com provides free email addresses akin to Google’s Gmail service. On
                   5 or around March 1, 2018, Defendants used this address to unlawfully
                   6 distribute Plaintiffs’ stolen emails to a United States journalist employed by a
                   7 United States-based company.
L L P




                   8        120. On information and belief, Plaintiffs’ stolen emails have also
F L E X N E R




                   9 appeared on a website hosted by a United States company, GoDaddy LLC
                  10 (“GoDaddy”), which is headquartered in Scottsdale, Arizona. GoDaddy is a
                  11 domain registrar and web hosting service that sells website domains to users
S C H I L L E R




                  12 so they may create their own webpage and hosts websites. Defendants further
                  13 obfuscated their identity using a registration masking service, Domain by
                  14 Proxy LLC, which allows a user to replace their own personal information
                  15 with information belonging to Domain by Proxy LLC for purposes of
B O I E S




                  16 registration. Domain by Proxy LLC is a company owned by GoDaddy LLC.
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                  17        74.121.      On March 1, 2018, the contents of emails stolen from             single, No bullets or numbering

                  18 PlaintiffsPlaintiffs’ California-based computer accounts and servers appeared
                  19 in the Wall Street Journal in an article titled, “Trump Ally Was in Talks to
                  20 Earn Millions in Effort to End 1MDB Probe in U.S.” Additional emails stolen
                  21 from those California computer accounts and servers were published or
                  22 reported on in other media outlets: including the Huffington Post on March 2,
                  23 2018; and the New York Times on March 3, 2018; and the BBC on March 5,
                  24 2018. On March 22, 2018, the New York Times published a front page article
                  25 noting that an “anonymous group critical of Mr. Broidy’s advocacy of
                  26 American foreign policies in the Middle East” has been distributing
                  27 “documents, which included emails, business proposals and contracts,”                Formatted Table

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                   1 supposedly belonging to Plaintiffs. On March 23, 2018, Bloomberg published
                   2 an article alleging that Plaintiff Broidy had helped get Russian companies
                   3 removed from a United States sanctions list; the news article noted that it had
                   4 “received two separate documents this week purporting to be versions” of a
                   5 unverifiable January 2017 proposal by Plaintiff Broidy geared towards
                                                                                                          Formatted: Font color: Auto
                   6 influencing United States officials. On March 26, 2018, the New York Times
                   7 published another front page story on Plaintiff Broidy that again
L L P




                   8 acknowledged that it relied on “[h]undreds of pages of Mr. Broidy’s emails,
F L E X N E R




                   9 proposals and contracts” received from “an anonymous group critical of Mr.
                  10 Broidy’s advocacy of American foreign policies in the Middle East.” On
                  11 information and belief, the State of Qatar, acting through the Agent
S C H I L L E R




                  12 Defendants, disseminated the various stolen emails and documents, some of
                  13 which had been doctored.
                  14        75.    On information or belief, the State of Qatar, acting through the
                  15 Agent Defendants, disseminated additional stolen documents that were not
B O I E S




                  16 authentic (including documents that had been altered or wholly fabricated)
                  17 that attempt to portray Plaintiff Broidy as involved with a Russian bank that
                  18 had been the subject of international sanctions. Al Jazeera, the State of
                  19 Qatar’s state-owned broadcaster, published those documents on March 8,
                  20 2018. None of the other media organizations to which the documents had
                  21 been distributed at the time did so.
                                                                                                          Formatted: List Paragraph, Line spacing:
                  22        76.122.      On March 8, 2018, Defendant Muzin demonstrated his               single, No bullets or numbering

                  23 knowledge that Plaintiff Broidy had been successfully targeted by the State of
                  24 Qatar by stating: “I did not cause the Broidy stuff, just because I have
                  25 information” and “I don’t know all the details, but I know that I am hearing
                  26 repeatedly that there’s a lot more coming.”
                  27                                                                                      Formatted Table

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                   1          123. On March 22, 2018, the New York Times published a front page
                   2 article noting that an “anonymous group critical of Mr. Broidy’s advocacy of
                   3 American foreign policies in the Middle East” has been distributing
                   4 “documents, which included emails, business proposals and contracts,”
                   5 supposedly belonging to Plaintiffs. On March 23, 2018, Bloomberg published
                   6 an article about Plaintiff Broidy, which noted that it had “received two
                   7 separate documents this week purporting to be versions” of materials
L L P




                   8 belonging to Plaintiff Broidy.
F L E X N E R




                   9          77.    On March 26, 2018, the New York Times published another front page story

                  10 on Plaintiff Broidy that again acknowledged that it relied on “[h]undreds of pages of Mr.
                                                                                                                 Formatted: Font: 12 pt, Font color: Auto
                  11 Broidy’s emails, proposals and contracts” received from “an anonymous group critical of
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S C H I L L E R




                  12 Mr. Broidy’s advocacy of American foreign policies in the Middle East.” On
                  13 information and belief, following that March 8, 2018 conversation, there were
                  14 further unlawful disclosures of the contents of Plaintiffs’ emails and the
                  15 altered and forged documents, and the New York Times, The Associated Press,
B O I E S




                  16 Newsweek, Bloomberg, The Huffington Post, and other news organizations
                  17 have indicated to Plaintiffs that they have received documents that purport to
                  18 belong to Plaintiffs, and plan to write additional stories about them. The
                  19 dissemination of stolen and doctored materials concerning Plaintiffs is
                  20 ongoing.
                  21          78.    Although Defendant Muzin has attempted to distance himself
                  22 from the attacks on those accounts by stating he wasn’t “the one who’s calling
                  23 the reporters and giving the stories,” Defendant Muzin also mentioned that
                  24 there are weekly meetings at the Embassy of Defendant State of Qatar in
                  25 Washington D.C. in which he or his representatives along with high-level
                  26 Embassy personnel and other registered agents of Defendant the State of
                  27 Qatar discuss strategies to improve its image, which strategies include                     Formatted Table

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                   1 targeting and destroying the reputations of those who oppose them. “Broidy’s
                   2 name comes up in Embassy meetings often,” Defendant Muzin stated. In
                   3 subsequent conversations, Defendant Muzin clearly demonstrated his
                   4 knowledge of and encouragement of the unlawful conduct towards Plaintiff
                   5 Broidy and his participation in the conspiracy, by stating that “there’s a lot
                   6 more coming,” which, on information and belief, was followed by further
                   7 leaks of Plaintiffs’ emails and the altered and forged documents. Defendant
L L P




                   8 Muzin stated to another individual critical of Qatar: “I know they’re [Qatari
F L E X N E R




                   9 officials] after you and Broidy.” (emphasis added.)
                  10         79.    Defendant Muzin worked closely with high-level Qatari officials
                  11 on shaping their outreach in Washington D.C. He not only attended meetings
S C H I L L E R




                  12 at the Embassy of Qatar but has been involved in planning the Emir’s
                  13 forthcoming trip to Washington D.C., and was aware of details of that state
                  14 visit before they were made public. On information and belief, Defendant
                  15 Muzin hoped to parlay his high-level work with Qatari officials into lucrative
B O I E S




                  16 business deals in Qatar.
                  17         124.
                  18         125. Media outlets in the United States and abroad continue to publish
                  19 – and to threaten to publish – materials stolen from Plaintiffs. Plaintiffs
                  20 continue to receive numerous press inquiries concerning such materials.
                  21         126. On information and belief, the State of Qatar, acting through the
                  22 Agent Defendants, was responsible for disseminating the emails and
                  23 documents stolen from Plaintiffs’ California-based email accounts and
                  24 servers.
                                                                                                          Formatted: List Paragraph, Line spacing:
                  25         80.127.      On March 19, 2018, Plaintiffs’Plaintiffs, through counsel,      single, No bullets or numbering

                  26 formally requested that the State of Qatar take appropriate action to halt the
                  27 attacks on Plaintiffs’ emails, documents, and data and, to stop Defendants           Formatted Table

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                   1 from disseminating Plaintiffs’ emails, documents, and data, and/or to assist
                   2 Plaintiffs in halting dissemination if the hack had been conducted by a rogue
                   3 actor inagent of the State of Qatar. However, to date, no response has been
                   4 received to that letter.
                   5          128. On information and belief, the State of Qatar, with Qatari
                   6 Defendants, the knowledgeGRA Defendants and participation of the Agent
                   7 Defendants, orchestratedwhile in the attack on United States, conspired to
L L P




                   8 unlawfully access Plaintiffs’ email accounts after Defendant Muzin identified
F L E X N E R




                   9 Plaintiff Broidy as an individual who was opposing the State of Qatar’s efforts
                  10 to improve its imageprivate communications, documents, trade secrets and
                  11 relationships in intellectual property located in California, and to disseminate
S C H I L L E R




                  12 that information to the media as retribution for Plaintiff Broidy’s public and
                  13 private criticisms of Defendants State of Qatar and Muzin, including his
                  14 direct criticisms of the State of Qatar to the President of the United States.
                  15          129. Upon information and belief, the Qatari Defendants, the GRA
B O I E S




                  16 Defendants and the Agent Defendants also carried out that conspiracy and
                  17 unlawfully accessed Plaintiffs’ private communications, documents, trade
                  18 secrets and intellectual property located in California, and further engaged in
                  19 distribution of that information to media outlets in both the United States and
                  20 abroad. Upon information and belief, many of the instances of unlawful
                  21 distribution of illegally obtained took place within the United States.
                  22          130. The actions of the Qatari Defendants, the GRA Defendants and
                  23 the Agent Defendants as alleged herein were specifically proscribed by law
                  24 and were not matters left to the discretion, choice or judgment of a sovereign
                  25 state.
                  26
                  27                                                                                      Formatted Table

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                             B. Defendants Muzin and Stonington Implicated Themselves With
                   1            Respect To The Dissemination Of Materials Unlawfully
                                Obtained From Plaintiffs’ Email Accounts And Servers
                   2
                             131. Upon information and belief, on January 28, 2018, prior to the
                   3
                       first public disclosure in the United States of materials stolen from Plaintiffs,
                   4
                       Ben Wieder, a reporter at McClatchy, a Washington, D.C. and whopublication
                   5
                       focused on politics, emailed Defendant Muzin and commented to Defendant
                   6
                       Muzin that it was “time to rock.”
                   7
L L P




                             132. Weider’s article, “GOP Leans on Rainmaker who Courts
                   8
                       Controversy on Two Continents,” which appeared in McClatchy on February
F L E X N E R




                   9
                       7, 2018, discussed Plaintiff Broidy’s political activities in the United States
                  10
                       and his business interests in Romania. The article did not mention either of
                  11
                       Muzin’s clients at the time (Qatar and Albania). Indeed, the article did not
S C H I L L E R




                  12
                       mention the Middle East at all. There is no apparent connection between
                  13
                       Wieder’s January 28th remark to Muzin (that it was aligned“time to rock”) and
                  14
                       the February 7th article.
                  15
B O I E S




                             133. On February 27, 2018, Defendant Muzin demonstrated further
                  16
                       foreknowledge of press reports about Plaintiff Broidy based on illegally
                  17
                       obtained information when he informed Mowbray that there were “reporters
                  18
                       circulating around” to focus on issues relating to Plaintiff Broidy, the Middle
                  19
                       East and George Nader. (In that same conversation, Defendant Muzin also
                  20
                       referred to “all the shit” that he believed Plaintiff Broidy and Mowbray had
                  21
                       “done to” him.)
                  22
                             134. The first published report of any alleged connection between
                  23
                       Nader and Plaintiff Broidy did not occur until March 3, 2018. Unless
                  24
                       Defendant Muzin possessed or knew about documents and information
                  25
                       contained in documents unlawfully obtained from Plaintiffs’ servers, Muzin
                  26
                       would not have been a position to know about the particular issues relating to
                  27                                                                                        Formatted Table

                  28                                        -- 62 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 64 of 92 Page ID #:567




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                   1 Plaintiff Broidy, the Middle East and Nader that were about to become the
                   2 focus of media attention.
                   3         135. On March 5, 2018, Defendant Muzin informed Mowbray that
                   4 there was “more stuff coming” from the New York Times.
                                                                                                          Formatted: List Paragraph, Line spacing:
                   5         81.136.      In the same meeting with Mowbray, Defendant Muzin               single, No bullets or numbering

                   6 discussed meetings he had with its regional rivals, the UAE and Saudi
                   7 Arabia.his client the State of Qatar while serving as a registered agent of
L L P




                   8 Qatar. Muzin told Mowbray: “Broidy’s name comes up in Embassy meetings
F L E X N E R




                   9 often” and “I definitely identified him as somebody who, was not, didn’t like
                  10 them too much.” Muzin further acknowledged that everyone he “fingered”
                  11 was “in danger.” He warned Mowbray that Mowbray and Plaintiff Broidy
S C H I L L E R




                  12 needed “to be very careful,” that the State of Qatar is “going after you,” and
                  13 that “Honestly, I know they’re after you and Broidy.”
                  14         137. In the same meeting, when Mowbray accused Defendant Muzin
                  15 of targeting Plaintiff Broidy for the State of Qatar and assisting in the hacks
B O I E S




                  16 on Plaintiffs and attempted hacks on Mowbray, Muzin responded “I was
                  17 doing my job.” Somewhat belatedly, Muzin stated that he realized that he
                  18 needed “to be a little more careful” when he spoke to Mowbray.
                  19         138. On March 22, 2018, as foretold by Defendant Muzin on March
                  20 5th, the New York Times published a front page article noting that an
                  21 “anonymous group critical of Mr. Broidy’s advocacy of American foreign
                  22 policies in the Middle East” has been distributing “documents, which included
                  23 emails, business proposals and contracts,” supposedly belonging to Plaintiffs.
                  24 On March 23, 2018, Bloomberg published an article about Plaintiff Broidy
                  25 and noted that it had “received two separate documents this week purporting
                                                                                                          Formatted: Font color: Auto
                  26 to be versions” of documents belonging to Plaintiff Broidy. On March 26,
                  27 2018, the New York Times published another front page story on Plaintiff             Formatted Table

                  28                                      -- 63 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 65 of 92 Page ID #:568




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                   1 Broidy that again acknowledged that it relied on “[h]undreds of pages of Mr.
                   2 Broidy’s emails, proposals and contracts” received from “an anonymous
                   3 group critical of Mr. Broidy’s advocacy of American foreign policies in the
                   4 Middle East.”
                   5        139. The actions of the Agent Defendants, the GRA Defendants and
                   6 Defendants Al Thani and Al-Rumaihi described herein are not subject to
                   7 derivative sovereign immunity because, among other things, the State of Qatar
L L P




                   8 is not entitled to sovereign immunity. In addition, although the actions of the
F L E X N E R




                   9 Agent Defendants, the GRA Defendants and Defendants Al Thani and Al-
                  10 Rumaihi originated in a conspiracy with the State of Qatar, upon information
                  11 and belief, the State of Qatar left to the Agent Defendants, the GRA
S C H I L L E R




                  12 Defendants and Defendants Al Thani and Al-Rumaihi discretion and choice as
                  13 to the manner in which they would carry out their parts of the unlawful
                  14 conspiracy. As such, for these and other reasons, they are not entitled to
                  15 derivative sovereign immunity for their conduct in furtherance of the
B O I E S




                  16 conspiracy.
                  17                             CAUSES OF ACTION
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                  18             FOR A FIRST CAUSE OF ACTION AGAINST ALL                                 pt
                                               DEFENDANTS                                                Formatted: Font: Not Bold
                  19
                                                                                                         Formatted: Add space between paragraphs of
                                            Computer Fraud and Abuse Act                                 the same style
                  20                       18 U.S.C. §§ 1030(a)(2)(C) & (a)(5)
                                                                                                         Formatted: Font color: Auto
                  21        82.140.      Plaintiffs incorporate and adopt by reference the               Formatted: List Paragraph, Line spacing:
                                                                                                         single, No bullets or numbering, Adjust space
                  22 allegations contained in each and every preceding paragraph of this First           between Latin and Asian text, Adjust space
                                                                                                         between Asian text and numbers
                  23 Amended Complaint.                                                                  Formatted: Font color: Auto
                                                                                                         Formatted: Font color: Auto
                  24        141. On information and belief, Defendant the State of Qatar, by itself
                                                                                                         Formatted: Font color: Auto
                  25 and/or through its agent Ooredoo and the Agent Defendants and the GRA               Formatted: Font color: Auto

                  26 Defendants, accessed or caused to be accessed Plaintiffs’ computersservers,         Formatted: Font color: Auto
                                                                                                         Formatted: Font color: Auto
                  27 and emails and documents physically located on those servers, at Broidy             Formatted Table

                  28                                     -- 64 --             Case No. 18-cv-02421-JFW
                                                FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 66 of 92 Page ID #:569




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                   1 Capital ManagementBCM’s offices in Los Angeles, California, as well as
                                                                                                          Formatted: Font color: Auto
                   2 Google servers located in California, specifically by accessing or causing to
                                                                                                          Formatted: Font color: Auto
                   3 be accessed accounts associated with Plaintiff Broidy and other BCM
                   4 employees.
                                                                                                          Formatted: Font color: Auto
                   5        142. Said Defendants first compromised Plaintiff Rosenzweig’s                 Formatted: Font color: Auto

                   6 personal email account by a targeted phishingspearphishing email in                  Formatted: Font color: Auto


                   7 December 2017, and thereafter, beginning on or about January 16, 2018, and
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                   8 without authorization, accessed BCM’s servers, and emails and documents
                                                                                                          Formatted: Font color: Auto
F L E X N E R




                   9 physically located on those servers, including the corporate accounts of             Formatted: Font color: Auto

                  10 Plaintiff Broidy and other BCM employees. Defendants did soacted with                Formatted: Font color: Auto
                                                                                                          Formatted: Font color: Auto
                  11 knowledge that they were accessing these accounts without Plaintiffs’
S C H I L L E R




                  12 authorization.
                                                                                                          Formatted: Font color: Auto
                  13        83.143.      Defendants not only engaged in the deliberate                    Formatted: List Paragraph, Line spacing:
                                                                                                          single, No bullets or numbering, Adjust space
                  14 phishingspearphishing attacks and on Rosenzweig, Mowbray and Plaintiff               between Latin and Asian text, Adjust space
                                                                                                          between Asian text and numbers
                  15 Broidy’s Executive Assistant (as well as attempted spearphishing attacks on
B O I E S




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                  16 Mowbray) and used information gained from the attacks on Rosenzweig and
                                                                                                          Formatted: Font color: Auto
                  17 Plaintiff Broidy’s Executive Assistant to obtain unauthorized access, but to         Formatted: Font color: Auto

                  18 Plaintiffs’ servers, and emails and documents physically located on those
                                                                                                          Formatted: Font color: Auto
                  19 servers located in Los Angeles, California. Defendants also implemented
                  20 identifiable obfuscation techniques to engage in ultimately unsuccessful
                  21 efforts to hide the origin of their cyber-attacksspearphishing attacks and
                  22 unauthorized access to Plaintiffs’ servers, and emails and documents
                                                                                                          Formatted: Font color: Auto
                  23 physically located on those servers and the servers of Google.
                  24        84.144.      On information and belief, by engaging in this conduct,
                                                                                                          Formatted: Font color: Auto
                  25 Defendants accessed “protected computers,,” defined by 18 U.S.C.                     Formatted: Font color: Auto

                  26 § 1030(e)(2)(B) as computers “used in or affecting interstate or foreign
                                                                                                          Formatted: Font color: Auto
                  27 commerce or communication.”                                                          Formatted Table

                  28                                      -- 65 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 67 of 92 Page ID #:570




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                   1         85.145.      OnUpon information and belief, after accessing the
                   2 relevant accounts, Defendants obtained and stole private emails and
                   3 documents, and then distributed Plaintiffs’ private information to the media.
                   4 Defendants also altered information contained in the emails, and in some
                   5 instances wholly forged new documents, and then distributed those altered or
                   6 forged documents to the media. On information and belief, by virtueas a
                                                                                                          Formatted: Font color: Auto
                   7 direct result of the actions of Defendants, Plaintiffs suffered damage,
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                                                                                                          Formatted: Font color: Auto
                   8 including harm to the integrity or availability of their data, programs, and
F L E X N E R




                   9 computer systems, including but not limited to the stealing of Plaintiffs’ data,
                  10 and the corruption and doctoring of Plaintiffs’ emails.California-based
                                                                                                          Formatted: Font color: Auto
                  11 servers, and emails and documents physically located on those servers.
                                                                                                          Formatted: Font color: Auto
S C H I L L E R




                  12         86.146.      On information and belief, by virtueas a direct result of the
                  13 actions of Defendants, Plaintiffs also suffered loss, including but not limited
                  14 to the investigation costs associated with identifying the cyber-attacks and
                                                                                                          Formatted: Font color: Auto
                  15 repairing the integrity of Plaintiffs’ computer systemsservers after the attacks,
B O I E S




                  16 including by hiring forensic investigators and data security experts, and
                  17 attorneys, among other losses, in an amount to be proven at trial, but in any
                  18 event, in excess of $5,000 and, together with the other alleged damages, in
                  19 excess of $75,000, exclusive of interest and costs.
                                                                                                          Formatted: Font color: Auto
                  20         147. OnUpon information and belief, the unlawful action by
                                                                                                          Formatted: Font color: Auto
                  21 Defendants alsointentionally caused such damage to Plaintiffs.
                                                                                                          Formatted: Font color: Auto
                  22         148. Defendants’ conduct has caused, and will continue to cause
                                                                                                          Formatted: Font color: Auto
                  23 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                                                                                                          Formatted: Font color: Auto
                  24 increased risk of further theft, and an increased risk of harassment, and
                  25 increased risk of being required to engage in costly efforts to defend
                  26 themselves against erroneous, libelous accusations. Plaintiffs’ remedy at law
                  27 is not itself adequate to compensate for the injuries inflicted by. Such injury      Formatted Table

                  28                                      -- 66 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 68 of 92 Page ID #:571




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                   1 cannot be compensated by monetary damages. Plaintiffs accordingly seek an
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                   2 injunction prohibiting Defendants. Accordingly, Plaintiffs are also entitled to
                   3 injunctive relief to prevent the from engaging in the conduct described in the
                   4 Cause of Action.
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                   5        87.149.      Plaintiffs further accessing, use, and dissemination of         single, No bullets or numbering, Adjust space
                                                                                                         between Latin and Asian text, Adjust space
                                                                                                         between Asian text and numbers
                   6 Plaintiffs’ data.seek a declaration that Defendants’ conduct as described in
                                                                                                         Formatted: Font color: Auto
                   7 this First Amended Complaint is a violation of this Cause of Action.                Formatted: Font color: Auto
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                   8            FOR A SECOND CAUSE OF ACTION AGAINST ALL                                 pt
                                              DEFENDANTS
F L E X N E R




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                   9
                                                                                                         Formatted: Space Before: 12 pt
                          California Comprehensive Computer Data Access and Fraud Act
                  10                          Cal. Pen. Code § 502
                                                                                                         Formatted: Font color: Auto
                  11        88.150.      Plaintiffs incorporate and adopt by reference the               Formatted: List Paragraph, Line spacing:
                                                                                                         single, No bullets or numbering, Adjust space
S C H I L L E R




                  12 allegations contained in each and every preceding paragraph of this First           between Latin and Asian text, Adjust space
                                                                                                         between Asian text and numbers
                  13 Amended Complaint.                                                                  Formatted: Font color: Auto
                                                                                                         Formatted: Font: Not Bold, Font color: Auto
                  14        89.151.      On information and belief, Defendant the State of Qatar,
                                                                                                         Formatted: Font color: Auto
                  15 acting by itself and/or through its agent Ooredoo and the Agent Defendants,         Formatted: Font color: Auto
B O I E S




                  16 violated § 502(c)(2) by knowingly accessing and without permission taking
                  17 and making use of programs, data, and files from Plaintiffs’ and Google’s
                                                                                                         Formatted: Font color: Auto
                  18 computers, computer systems, and/ or computer networks, all of which were           Formatted: Font color: Auto

                  19 located in California.                                                              Formatted: Font color: Auto
                                                                                                         Formatted: Font: Not Bold, Font color: Auto
                  20        90.152.      On information and belief, Defendants have violated             Formatted: Font color: Auto
                                                                                                         Formatted: Font color: Auto
                  21 § 502(c)(4) by knowingly accessing and without permission altering
                                                                                                         Formatted: Font color: Auto
                  22 Plaintiffs’ data, which resided in Plaintiffs’ and Google’s computers,
                                                                                                         Formatted: Font color: Auto
                  23 computer systems, and/ or computer networks, all of which were located in
                                                                                                         Formatted: Font color: Auto
                  24 California.                                                                         Formatted: Font: Not Bold, Font color: Auto

                  25        91.153.      On information and belief, Defendants have violated             Formatted: Font color: Auto

                                                                                                         Formatted: Font color: Auto
                  26 § 502(c)(6) by knowingly and without permission providing or assisting in
                  27                                                                                     Formatted Table

                  28                                     -- 67 --             Case No. 18-cv-02421-JFW
                                                FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 69 of 92 Page ID #:572




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                                                                                                          Formatted: Font color: Auto
                   1 providing, a means of accessing Plaintiffs’ and Google’s computers, computer
                                                                                                          Formatted: Font color: Auto
                   2 systems, and/ or computer networks, all of which were located in California.         Formatted: Font color: Auto

                   3         92.154.      On information and belief, Defendants have violated             Formatted: Font: Not Bold, Font color: Auto
                                                                                                          Formatted: Font color: Auto
                   4 § 502(c)(7) by knowingly and without permission accessing, or causing to be          Formatted: Font color: Auto
                                                                                                          Formatted: Font color: Auto
                   5 accessed, Plaintiffs’ and Google’s computers, computer systems, and/ or
                                                                                                          Formatted: Font color: Auto
                   6 computer networks, all of which were located in California.                          Formatted: Font color: Auto
                                                                                                          Formatted: Font: Not Bold, Font color: Auto
                   7         93.155.      On information and belief, Defendants have violated §
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                                                                                                          Formatted: Font color: Auto
                   8 502(c)(9) by knowingly and without permission using the Internet domain
F L E X N E R




                   9 name or profile of another individual in connection with the sending of one or
                  10 more email messages and thereby damaging Plaintiffs’ and Google’s
                                                                                                          Formatted: Font color: Auto
                  11 computers, computer data, computer systems, and/ or computer networks, all           Formatted: Font color: Auto
S C H I L L E R




                  12 of which were located in Los Angeles, California.                                    Formatted: Font color: Auto
                                                                                                          Formatted: Font color: Auto
                  13         94.   Plaintiffs own certain data that comprises information that, on        Formatted: Font: Not Bold, Font color: Auto

                  14 information and belief, was obtained by Defendants as alleged above.
                                                                                                          Formatted: Font color: Auto
                  15         95.156.      On information and belief, Defendants knowingly and
B O I E S




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                                                                                                          single, No bullets or numbering, Adjust space
                  16 unlawfully accessed the or caused to be accessed computers, computer                 between Latin and Asian text, Adjust space
                                                                                                          between Asian text and numbers
                  17 systems or computer networks at Plaintiff BCM as well as Plaintiff                   Formatted: Font color: Auto
                                                                                                          Formatted: Font color: Auto
                  18 Rosenzweig’s computer in the manner described above, and Google, all of
                                                                                                          Formatted: Font color: Auto
                  19 which were located in California. Defendants knew that at the time that they         Formatted: Font color: Auto
                                                                                                          Formatted: Font color: Auto
                  20 accessed the various accounts, they were without did not have the                    Formatted: Font color: Auto

                  21 authorization to do so. For this reason, Defendants engaged in phishingtake          Formatted: Font color: Auto


                  22 such action. This knowledge is demonstrated by Defendants’ use of
                                                                                                          Formatted: Font color: Auto
                  23 spearphishing attacks and attempted spearphishing attacks, as well as                Formatted: Font color: Auto

                  24 identifiable obfuscation techniques in an attempt to hide the origin of their
                                                                                                          Formatted: Font color: Auto
                  25 cyber-attackattacks.                                                                 Formatted: Font: Not Bold, Font color: Auto

                  26         96.   On information and belief, after accessing the relevant accounts,
                  27 Defendants obtained and stole massive amounts of private emails and                  Formatted Table

                  28                                      -- 68 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 70 of 92 Page ID #:573




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                   1 documents, and then distributed Plaintiffs’ private information to the media.
                   2 Defendants also doctored the information contained in the emails and
                   3 documents, and then distributed those doctored or altered emails and
                   4 documents to the media.
                                                                                                          Formatted: Font color: Auto
                   5         97.157.      On information and belief, Defendants engaged in these          Formatted: List Paragraph, Line spacing:
                                                                                                          single, No bullets or numbering, Adjust space
                   6 actions as part of a targeted attack on Plaintiff Broidy, who is an outspoken        between Latin and Asian text, Adjust space
                                                                                                          between Asian text and numbers
                   7 critic of the Qatari government and whose businesses are assisting in
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                   8 developing the defense and anti-terrorism capabilities of the UAE, one of the
F L E X N E R




                   9 regional rivals of the State of Qatar, and has engaged in discussions to do the
                                                                                                          Formatted: Font color: Auto
                  10 same for Saudi Arabia, another regional rival of the State of Qatar.                 Formatted: Font: Not Bold, Font color: Auto

                  11         98.158.      On information and belief, as a direct and proximate result     Formatted: Font color: Auto
S C H I L L E R




                  12 of Defendants’ unlawful conduct, Plaintiffs have been damaged in an amount
                  13 to be proven at trial, but in any event, in excess of $75,000 exclusive of
                  14 interest and costs, including but not limited to the investigation costs
                  15 associated with identifying the cyber-attacks; verifying the integrity of the
B O I E S




                                                                                                          Formatted: Font color: Auto
                  16 computers, computer systems, or computer networks, computer programs                 Formatted: Font color: Auto

                  17 and/or computer data, and/or data; and repairing the integrity of Plaintiffs’        Formatted: Font color: Auto


                  18 computer systems after the attack, including by hiring forensic investigators
                  19 and data security experts. Plaintiffs are also entitled to recover their
                                                                                                          Formatted: Font: Not Bold, Font color: Auto
                  20 attorneys’ fees pursuant to § 502(e).
                                                                                                          Formatted: Font color: Auto
                  21         99.159.      Additionally, Defendants’ actions were willful and
                  22 malicious, such that Plaintiffs are also entitled to punitive damages under
                                                                                                          Formatted: Font color: Auto
                  23 § 502(e)(4).                                                                         Formatted: Font: Not Bold, Font color: Auto

                  24         160. On information and belief, Defendants’ unlawful access to and           Formatted: Font color: Auto

                                                                                                          Formatted: Font color: Auto
                  25 theft from Plaintiffs’ computers, and Defendants’ subsequent dissemination of        Formatted: Font color: Auto

                  26 Plaintiffs’ information,conduct has also caused, and will continue to cause,         Formatted: Font color: Auto
                                                                                                          Formatted: Font color: Auto
                  27 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an     Formatted Table

                  28                                      -- 69 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 71 of 92 Page ID #:574




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                   1 increased risk of further theft, and an increased risk of harassment. Plaintiffs’
                   2 remedy at law is not itself adequate to compensate for the injuries
                                                                                                           Formatted: Font color: Auto
                   3 inflictedSuch injury cannot be compensated by Defendants.
                                                                                                           Formatted: Font color: Auto
                   4 Accordingly,monetary damages. Plaintiffs are also entitled to injunctive relief
                   5 to preventaccordingly seek an injunction prohibiting Defendants from
                                                                                                           Formatted: Font color: Auto
                   6 engaging in the conduct described in the Cause of Action.
                                                                                                           Formatted: List Paragraph, Line spacing:
                   7         100.161.     Plaintiffs further accessing, use, and dissemination of          single, No bullets or numbering, Adjust space
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                                                                                                           between Latin and Asian text, Adjust space
                                                                                                           between Asian text and numbers
                   8 Plaintiffs’ data.seek a declaration that Defendants’ conduct as described in
                                                                                                           Formatted: Font color: Auto
F L E X N E R




                   9 this First Amended Complaint is a violation of this Cause of Action.                  Formatted: Font color: Auto
                                                                                                           Formatted: Heading 1, Left, Space Before: 0
                  10             FOR A THIRD CAUSE OF ACTION AGAINST ALL                                   pt
                                               DEFENDANTS                                                  Formatted: Font: Not Bold
                  11
                                                                                                           Formatted: Space Before: 12 pt, Add space
                                        Receipt and Possession of Stolen Property
S C H I L L E R




                                                                                                           between paragraphs of the same style
                  12                      in Violation of Cal. Pen. Code § 496
                                                                                                           Formatted: Font color: Auto
                  13         101.162.     Plaintiffs incorporate and adopt by reference the                Formatted: List Paragraph, Line spacing:
                                                                                                           single, No bullets or numbering
                  14 allegations contained in each and every preceding paragraph of this First
                                                                                                           Formatted: Font color: Auto
                  15 Amended Complaint.
B O I E S




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                  16         102.163.     On information and belief, Defendant the State of Qatar,         Formatted: Font color: Auto

                                                                                                           Formatted: Font color: Auto
                  17 acting by itself and/or through its agent Ooredoo and/or the Agent Defendants,
                                                                                                           Formatted: Font color: Auto
                  18 received property, including private communications, documents, emails,trade
                                                                                                           Formatted: Font color: Auto
                  19 secrets and other materialsintellectual property housed on Plaintiffs’ computer       Formatted: Font color: Auto

                  20 networks,and Google’s servers, and in emails and documents physically
                                                                                                           Formatted: Font color: Auto
                  21 located on those servers, all of which had beenwere located in California, and
                                                                                                           Formatted: Font color: Auto
                  22 were stolen from Plaintiffs in California or had beenotherwise obtained from          Formatted: Font color: Auto

                  23 Plaintiffs in California in a manner that constitutes theft. Plaintiffs are           Formatted: Font color: Auto
                                                                                                           Formatted: Font color: Auto
                  24 engaged in ongoing efforts to receive additional property stolen from
                                                                                                           Formatted: Font: Not Bold
                  25 Plaintiffs or obtained from Plaintiffs in a manner that constitutes theft.
                  26         164. OnUpon information and belief, in at least some instances,
                  27 Defendants knew thatwere in the propertyUnited States when they received              Formatted Table

                  28                                       -- 70 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 72 of 92 Page ID #:575




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                   1 was stolen or obtained in a manner that constituted theft, and Defendants
                   2 know thator possessed the property they are continuing to acquire and
                   3 disseminate can only be acquired if it is stolen or obtained in a manner that
                   4 constitutes theft. In fact, Defendant Muzin acknowledged that he had
                   5 unlawfully obtained information about.
                                                                                                          Formatted: List Paragraph, Line spacing:
                   6         103.165.     Upon information and belief, at least some instances of the     single, No bullets or numbering

                   7 cyber-attacks and knew that there was “a lot more coming.”unlawful receipt
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                   8 and possession of Plaintiffs stolen information occurred in the United States.
F L E X N E R




                   9         104.166.     On information and belief, as a result of Defendants’
                  10 actions, Plaintiffs have been damaged in an amount to be proven at trial, but in
                  11 any event, in excess of $75,000, exclusive of interest and costs, and are
S C H I L L E R




                  12 entitled to treble damages, the costs of bringing this suit, and attorneys’ fees
                                                                                                          Formatted: Font: Not Bold
                  13 under § 496(c).
                                                                                                          Formatted: Font color: Auto
                  14         167. On information and belief, Defendants’ unlawful actions have
                                                                                                          Formatted: Font color: Auto
                  15 alsoconduct has caused, and will continue to cause Plaintiffs irreparable
B O I E S




                                                                                                          Formatted: Font color: Auto
                  16 injury, including reputational harm, loss of goodwill, an increased risk of
                  17 further theft, and an increased risk of harassment. Plaintiffs’ remedy at law is
                  18 not itself adequate to compensate for the injuries inflictedSuch injury cannot
                                                                                                          Formatted: Font color: Auto
                  19 be compensated by Defendants. Accordingly,monetary damages. Plaintiffs               Formatted: Font color: Auto

                  20 are also entitled to injunctive relief to preventaccordingly seek an injunction
                                                                                                          Formatted: Font color: Auto
                  21 prohibiting Defendants from engaging in the conduct described in the Cause
                  22 of Action.
                                                                                                          Formatted: List Paragraph, Line spacing:
                  23         105.168.     Plaintiffs further accessing, use, and dissemination of         single, No bullets or numbering
                                                                                                          Formatted: Font color: Auto
                  24 Plaintiffs’ data.seek a declaration that Defendants’ conduct as described in
                                                                                                          Formatted: Font: Not Bold, No underline
                  25 this First Amended Complaint is a violation of this Cause of Action.
                  26         ///
                  27         ///                                                                          Formatted Table

                  28                                      -- 71 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 73 of 92 Page ID #:576




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                   1         ///
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                   2             FOR A FOURTH CAUSE OF ACTION AGAINST ALL                                   pt
                                                   DEFENDANTS                                               Formatted: Font: Not Bold
                   3                  Invasion of Privacy by Public Disclosure of
                                                     Private Facts
                   4
                             106. Plaintiffs incorporate and adopt by reference the allegations
                   5
                       contained in each and every preceding paragraph of this Complaint.
                   6
                             107. Plaintiffs have a reasonable privacy interest in their personal
                   7
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                       information, including information contained in their private email accounts.
                   8
                       Additionally, Plaintiffs had a reasonable expectation that information
F L E X N E R




                   9
                       contained in their email accounts would remain private.
                  10
                             108. Access to Plaintiffs’ personal accounts was achieved by unlawful
                  11
                       hacking and stealing of personal data. Without these unlawful actions,
S C H I L L E R




                  12
                       Plaintiffs’ personal information would not have been made public.
                  13
                             109. On information and belief, after hacking, stealing, and altering
                  14
                       Plaintiffs’ personal information, Defendant the State of Qatar, acting by itself
                  15
B O I E S




                       and/or through its agent Ooredoo and the Agent Defendants, publicly
                  16
                       disclosed Plaintiffs’ personal information by disseminating the materials to
                  17
                       the media for publication, and sought to facilitate further disclosures by
                  18
                       providing staggered data “dumps” to the media.
                  19
                             110. On information and belief, the personal information that
                  20
                       Defendants have publicly disclosed includes, but is not limited to, confidential
                  21
                       communications between Plaintiff Broidy and his clients and/or personal
                  22
                       relations and legal documents, some of which have been fabricated or altered.
                  23
                             111. The public disclosure—and its threatened further disclosures—of
                  24
                       Plaintiffs’ personal information constitutes a public disclosure of private facts.
                  25
                  26
                  27                                                                                        Formatted Table

                  28                                       -- 72 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 74 of 92 Page ID #:577




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                   1         112. At no time have Plaintiffs waived or otherwise taken any action
                   2 that would constitute an implied waiver of their privilege against the public
                   3 disclosure of private facts.
                   4         113. On information and belief, the personal information that
                   5 Defendants have publicized, and are threatening to further publicize, are not
                   6 matters of public concern. Neither Defendants nor the public have a need to
                   7 acquire, review, or disseminate Plaintiffs’ personal information and
L L P




                   8 communications for any legitimate purpose. Nor, in fact, have Defendants
F L E X N E R




                   9 acted with a legitimate purpose. Rather, they have publicly disclosed
                  10 Plaintiffs’ private information merely to attack a private United States citizen.
                  11         114. The public disclosure of Plaintiffs’ personal information is highly
S C H I L L E R




                  12 offensive to a reasonable person of ordinary sensibilities. Individuals have a
                  13 legitimate and reasonable interest in keeping their personal email
                  14 communications private, and reasonably expect that such information will not
                  15 be publicly disclosed.
B O I E S




                  16         115. The public disclosure of Plaintiffs’ personal information has
                  17 caused, and will continue to cause, Plaintiffs injury, including reputational
                  18 harm, an increased risk of further theft, and an increased risk of harassment.
                  19         116. On information and belief, Plaintiffs will continue to suffer this
                  20 injury as long as their personal information is available to Defendants and,
                  21 consequently, to numerous organizations. Plaintiffs’ remedy at law is not
                  22 itself adequate to compensate for the injuries inflicted by Defendants.
                  23 Accordingly, Plaintiffs are entitled to injunctive relief to prevent the further
                  24 accessing, use, and dissemination of Plaintiffs’ data.
                                                                                                             Formatted: Font color: Auto
                  25         117.1. The public disclosure of Plaintiffs’ personal information has also       Formatted: List Paragraph, Line spacing:
                                                                                                             single, No bullets or numbering
                  26 caused them to suffer monetary damages, at an amount to be proven at trial,
                  27 but in any event, in excess of $75,000, exclusive of interest and costs.                Formatted Table

                  28                                         -- 73 --             Case No. 18-cv-02421-JFW
                                                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 75 of 92 Page ID #:578




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                   1 Because Defendants’ actions are intolerable in a civilized community,
                                                                                                          Formatted: Font: Not Bold
                   2 Plaintiffs also seek punitive damages.
                   3         ///
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                   4               FOR A FIFTH CAUSE OF ACTION AGAINST ALL                                Formatted: Heading 1, Left, Space Before: 0
                                                 DEFENDANTS                                               pt
                   5
                                                                                                          Formatted: Font color: Auto
                                            Invasion of Privacy by Intrusion
                   6                                Upon Seclusion                                        Formatted: Space Before: 12 pt

                                                                                                          Formatted: List Paragraph, Line spacing:
                   7         118.169.     Plaintiffs incorporate and adopt by reference the               single, No bullets or numbering
L L P




                   8 allegations contained in each and every preceding paragraph of this First
                                                                                                          Formatted: Font color: Auto
F L E X N E R




                   9 Amended Complaint.                                                                   Formatted: Font: Not Bold

                  10         119.170.     Plaintiffs have a legally protected privacy interest in their
                  11 personal information, including in information contained on Plaintiffs’ and
S C H I L L E R




                  12 email accountsGoogle’s servers, and in emails and documents physically
                  13 located on those servers, all of which were located in California, and had a
                  14 reasonable expectation that their information would remain private. Plaintiffs’
                  15 accounts were password protected, and at no time did Plaintiffs provide those
B O I E S




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                  16 passwords, or the contents of their emails, to the public.
                  17         120.171.     On information and belief, Defendant the State of Qatar,
                                                                                                          Formatted: Font color: Auto
                  18 acting by itself and/or through its agent Ooredoo and the Agent Defendants,
                  19 hacked, stole, doctored, and disseminated to others the personal and private
                  20 information of Plaintiffs. Defendants clearly did so without permission and
                  21 with deliberate intent to access and obtain Plaintiffs’ personal and private
                  22 information. At no point did Plaintiffs authorize Defendants to hack, steal,
                  23 doctor, or disseminate their personal and private information. Upon
                  24 information and belief, at least some of the unlawful disseminations of
                                                                                                          Formatted: Font: Not Bold
                  25 Plaintiffs’ personal information occurred completely within the United States
                  26
                  27                                                                                      Formatted Table

                  28                                      -- 74 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 76 of 92 Page ID #:579




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                   1         121.172.     On information and belief, Defendants’ intentional
                   2 intrusion upon Plaintiffs’ seclusion was highly offensive to Plaintiffs and
                                                                                                            Formatted: Font: Not Bold
                   3 would be unjustifiable and highly offensive to an ordinary, reasonable person.
                                                                                                            Formatted: Font color: Auto
                   4         122.173.     The public disclosure of Plaintiffs’ personal information
                   5 has caused, and will continue to cause, Plaintiffs injury, including reputational
                                                                                                            Formatted: Font: Not Bold
                   6 harm, an increased risk of further theft, and an increased risk of harassment.
                                                                                                            Formatted: Font color: Auto
                   7         123.174.     Plaintiffs will continue to suffer this injury as long as their
L L P




                   8 personal information is available to Defendants and, subsequently, to media
F L E X N E R




                   9 organizations and the world at large. Plaintiffs’ remedy at law is not itself
                  10 adequate to compensate for the injuries inflicted by Defendants. Accordingly,
                  11 Plaintiffs are entitled to injunctive relief to prevent the further accessing, use,
                                                                                                            Formatted: Font: Not Bold
S C H I L L E R




                  12 and dissemination of Plaintiffs’ data.
                  13         124. The public disclosure of Plaintiffs’ personal information has also
                  14 caused them to suffer monetary damages, at an amount to be proven at trial,
                  15 but in any event, in excess of $75,000, exclusive of interest and costs.
B O I E S




                  16 Because Defendants’ actions are intolerable in a civilized community,
                  17 Plaintiffs also seek punitive damages.
                                                                                                            Formatted: Font color: Auto
                  18         175. The public disclosure of Plaintiffs’ personal information has also        Formatted: List Paragraph, Line spacing:
                                                                                                            single, No bullets or numbering
                  19 caused them to suffer monetary damages, at an amount to be proven at trial,
                  20 but in any event, in excess of $75,000, exclusive of interest and costs.
                  21 Because Defendants’ actions are intolerable in a civilized community,
                                                                                                            Formatted: Font: Not Bold
                  22 Plaintiffs also seek punitive damages.
                  23         176. Defendants’ conduct has caused, and will continue to cause
                  24 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                  25 increased risk of further theft, and an increased risk of harassment. Such
                  26 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                  27                                                                                        Formatted Table

                  28                                       -- 75 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 77 of 92 Page ID #:580




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                   1 seek an injunction prohibiting Defendants from engaging in the conduct
                   2 described in the Cause of Action.
                   3         177. Plaintiffs further seek a declaration that Defendants’ conduct as
                   4 described in this First Amended Complaint is a violation of this Cause of
                   5 Action.
                                                                                                            Formatted: Font color: Auto
                   6              FOR A FIFTH CAUSE OF ACTION AGAINST ALL                                   Formatted: Heading 1, Left, Space Before: 0
                                                DEFENDANTS                                                  pt
                   7
L L P




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                                  FOR A SIXTH CAUSE OF ACTION AGAINST ALL
                   8                            DEFENDANTS                                                  Formatted: Heading 1, Left, Space Before: 0
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F L E X N E R




                   9                                      Conversion                                        Formatted: Space Before: 12 pt, After: 12 pt


                  10                                                                                        Formatted: Font color: Auto
                             125.178.       Plaintiffs incorporate and adopt by reference the               Formatted: List Paragraph, Line spacing:
                  11                                                                                        single, No bullets or numbering
                       allegations contained in each and every preceding paragraph of this First
S C H I L L E R




                  12                                                                                        Formatted: Font color: Auto
                       Amended Complaint.                                                                   Formatted: Font: Not Bold
                  13
                             179. By hacking Plaintiffs had ownership of and stealing Plaintiffs’           Formatted: Font color: Auto
                  14
                       personal emails and the right to possess their property, including private
                  15
B O I E S




                                                                                                            Formatted: Font color: Auto
                       communications, documents, along with Plaintiff Rosenzweig’s passwords,
                  16
                       trade secrets and intellectual property, all of which were located in California.
                  17                                                                                        Formatted: Font color: Auto
                             180. Defendant the State of Qatar, acting by itself and/or through its
                  18                                                                                        Formatted: Font color: Auto
                       agent Ooredoo and the Agent Defendants, took Plaintiffs’ exclusive private
                  19
                       converted or disposed of Plaintiffs’ property including the rights to that
                  20
                       property, by unlawfully accessing, or at a minimum receiving that property,
                  21
                       including private communications, documents, trade secrets and intellectual
                  22                                                                                        Formatted: Font color: Auto
                       property with knowledge that it had been unlawfully taken, and personal
                  23
                       property. Additionally, ondisseminating them to the media in the United
                  24                                                                                        Formatted: List Paragraph, Line spacing:
                       States and abroad.                                                                   single, No bullets or numbering
                  25                                                                                        Formatted: Font color: Auto
                             126.181.       Upon information and belief, certainsome instances of the
                  26                                                                                        Formatted: Font color: Auto
                       emails were doctoredunlawful access and then deleted by Defendants                   Formatted: Font color: Auto
                  27                                                                                        Formatted Table

                  28                                        -- 76 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 78 of 92 Page ID #:581




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                                                                                                           Formatted: Font color: Auto
                   1 fromtheft of Plaintiffs’ computersproperty occurred completely within the
                                                                                                           Formatted: Font color: Auto
                   2 United States.                                                                        Formatted: Font: Not Bold, No underline

                   3         182. OnUpon information and belief, Defendants clearly engaged in
                   4 these actions withoutat least some of the unlawful receipt and dissemination
                   5 of Plaintiffs’ personal information occurred completely within the United
                   6 States.
                                                                                                           Formatted: List Paragraph, Line spacing:
                   7         127.183.     Plaintiffs did not provide permission from Plaintiffs and        single, No bullets or numbering
L L P




                   8 with the deliberate intent to access and obtain Plaintiffs’ personal and private
F L E X N E R




                   9 information. At no point did Plaintiffs authorize Defendants to hack, steal,
                  10 doctor,to access, receive or disseminate their exclusive personal and private
                                                                                                           Formatted: Font: Not Bold
                  11 information.
S C H I L L E R




                  12         128. Plaintiffs will continue to suffer injury as long as their personal
                  13 information is available to Defendants and, subsequently, to media
                  14 organizations and the world at large. Plaintiffs’ remedy at law is not itself
                  15 adequate to compensate for the injuries inflicted by Defendants. Accordingly,
B O I E S




                  16 Plaintiffs are entitled to injunctive relief to prevent the further accessing, use,
                  17 and dissemination of Plaintiffs’ data.
                                                                                                           Formatted: Font color: Auto
                  18         129.184.     The public disclosure of Plaintiffs’ personal information        Formatted: List Paragraph, Line spacing:
                                                                                                           single, No bullets or numbering
                  19 has also caused them to suffer monetary damages, at an amount to be proven
                                                                                                           Formatted: Font: Not Bold
                  20 at trial, but in any event, in excess of $75,000, exclusive of interest and costs.
                                                                                                           Formatted: Font color: Auto
                  21         130.185.     Additionally, Defendants’ actions were willful and               Formatted: List Paragraph, Line spacing:
                                                                                                           single, No bullets or numbering, Adjust space
                  22 malicious, such that Plaintiffs are also entitled to punitive damages.                between Latin and Asian text, Adjust space
                                                                                                           between Asian text and numbers
                  23         186. Defendants’ conduct has caused, and will continue to cause               Formatted: Font: Not Bold, Font color: Auto

                  24 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                  25 increased risk of further theft, and an increased risk of harassment. Such
                  26 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                  27                                                                                       Formatted Table

                  28                                       -- 77 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 79 of 92 Page ID #:582




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                   1 seek an injunction prohibiting Defendants from engaging in the conduct
                   2 described in the Cause of Action.
                   3         187. Plaintiffs further seek a declaration that Defendants’ conduct as
                   4 described in this First Amended Complaint is a violation of this Cause of
                   5 Action.
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                   6              FOR A SIXTH CAUSE OF ACTION AGAINST ALL                                  pt, After: 0 pt, Line spacing: single
                                                DEFENDANTS                                                 Formatted: Font: Not Bold
                   7
L L P




                                                Stored Communications Act
                   8                                18 U.S.C. §§ 2701-12
F L E X N E R




                   9
                             188. Plaintiffs incorporate and adopt by reference the allegations
                  10
                       contained in each and every preceding paragraph of this First Amended
                  11
                       Complaint.
S C H I L L E R




                  12
                             189. Plaintiffs are “persons” within the meaning of 18 U.S.C.
                  13
                       §§ 2510(6) and 2707(a).
                  14
                             190. Defendants willfully and intentionally accessed without
                  15
B O I E S




                       authorization a facility through which an electronic communication service is
                  16
                       provided, namely, BCM’s computer systems, including its email servers, as
                  17
                       well as Google’s servers, thereby obtaining access to wire or electronic
                  18
                       communications while they were in electronic storage in such systems, in
                  19
                       violation of 18 U.S.C. § 2701(a).
                  20
                             191. As a result of Defendants’ willful and intentional violations,
                  21
                       Plaintiffs have suffered damages and, as provided for in 18 U.S.C. § 2707, are
                  22
                       entitled to an award of the greater of the actual damages suffered or the
                  23
                       statutory damages, punitive damages, attorneys’ fees and other costs of this
                  24
                       action, and appropriate equitable relief.
                  25
                             192. Defendants’ conduct has caused, and will continue to cause
                  26
                       Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                  27                                                                                       Formatted Table

                  28                                       -- 78 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 80 of 92 Page ID #:583




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                   1 increased risk of further theft, and an increased risk of harassment. Such
                   2 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                   3 seek an injunction prohibiting Defendants from engaging in the conduct
                   4 described in the Cause of Action.
                   5        193. Plaintiffs further seek a declaration that Defendants’ conduct as
                   6 described in this First Amended Complaint is a violation of this Cause of
                   7 Action.
L L P




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                   8           FOR A SEVENTH CAUSE OF ACTION AGAINST ALL                                 pt, After: 0 pt, Line spacing: single
                                              DEFENDANTS
F L E X N E R




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                   9
                                           Digital Millennium Copyright Act
                  10                            17 U.S.C. § 1201 et seq.
                  11        194. Plaintiffs incorporate and adopt by reference the allegations
S C H I L L E R




                  12 contained in each and every preceding paragraph of this First Amended
                  13 Complaint.
                  14        195. Plaintiffs’ computer networks and files contained information
                  15 subject to protection under the copyright laws of the United States that were
B O I E S




                  16 illegally accessed by Defendants without authorization. These materials
                  17 included, but were not limited to, presentations, proprietary business plans and
                  18 proposals, and strategic correspondence.
                  19        196. Access to the copyrighted material contained on Plaintiffs’
                  20 computer networks and email accounts was controlled by technological
                  21 measures, including firewalls, antivirus software, and measures restricting
                  22 access to users with valid credentials and passwords.
                  23        197. Defendants conducted a targeted attack to circumvent these
                  24 technological measures by stealing usernames and passwords from authorized
                  25 users. Defendants sent spearphishing emails containing links to malicious
                  26 websites designed to trick users into providing usernames and passwords.
                  27 Defendants used the information they obtained from their spearphishing              Formatted Table

                  28                                     -- 79 --             Case No. 18-cv-02421-JFW
                                                FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 81 of 92 Page ID #:584




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                   1 attacks to gain unauthorized access to Plaintiffs’ computer networks and email
                   2 accounts.
                   3         198. Defendants’ conduct caused Plaintiffs significant damages,
                   4 including, but not limited to, damage resulting from harm to Plaintiffs’
                   5 computers, loss in the value of Plaintiffs’ trade secrets and proprietary
                   6 business information, and harm to the business.
                   7         199. As a result, Plaintiffs are entitled to the greater of their actual
L L P




                   8 damages or statutory damages as provided by 17 U.S.C. § 1203, in an amount
F L E X N E R




                   9 to be proven at trial. Plaintiffs are further entitled to attorneys’ fees and costs
                  10 as provided by 17 U.S.C. § 1203.
                  11         200. Defendants’ conduct has caused, and will continue to cause
S C H I L L E R




                  12 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                  13 increased risk of further theft, and an increased risk of harassment. Such
                  14 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                  15 seek an injunction prohibiting Defendants from engaging in the conduct
B O I E S




                  16 described in the Cause of Action.
                  17         201. Plaintiffs further seek a declaration that Defendants’ conduct as
                  18 described in this First Amended Complaint is a violation of this Cause of
                  19 Action.
                  20           FOR AN EIGHTH CAUSE OF ACTION AGAINST ALL
                                              DEFENDANTS
                  21
                                          California Uniform Trade Secrets Act
                  22                           Cal. Civ. Code § 3426 et seq.
                  23         202. Plaintiffs incorporate and adopt by reference the allegations
                  24 contained in each and every preceding paragraph of this First Amended
                  25 Complaint.
                  26         203. The California Uniform Trade Secrets Act (“CUTSA”), Cal. Civ.
                  27 Code § 3426 et seq., prohibits the misappropriation of any “trade secret.”            Formatted Table

                  28                                       -- 80 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 82 of 92 Page ID #:585




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                   1        204. Defendants misappropriated a “trade secret” as defined by the
                   2 CUTSA to include “information, including a formula, pattern, compilation,
                   3 program, device, method, technique, or process, that: (1) Derives independent
                   4 economic value, actual or potential, from not being generally known to the
                   5 public or to other persons who can obtain economic value from its disclosure
                   6 or use; and (2) Is the subject of efforts that are reasonable under the
                   7 circumstances to maintain its secrecy.” Cal. Civ. Code. § 3426.1(d).
L L P




                   8        205.    The BCM server stored trade secrets including but not limited to
F L E X N E R




                   9 highly confidential business plans and proposals, research supporting those
                  10 plans and proposals including costs and service projections, information
                  11 concerning business strategies and opportunities, and contacts for important
S C H I L L E R




                  12 business relationships. These trade secrets are of immense value to Plaintiffs.
                  13        206.    Plaintiffs take and have taken reasonable measures to keep this
                  14 information secret. For example, Plaintiffs have always maintained their
                  15 information on secured servers that are protected by passwords, firewalls, and
B O I E S




                  16 antivirus software.
                  17        207. Plaintiffs’ trade secrets derive independent actual and potential
                  18 economic value from not being generally known or available to the public or
                  19 other persons who can obtain economic value from their disclosure or use.
                  20        208. Plaintiffs’ trade secrets have significant value, resulting from
                  21 significant investment of time and resources.
                  22        209. Plaintiffs have made, and continue to make, efforts that are
                  23 reasonable under the circumstances to maintain the secrecy of their trade
                  24 secrets.
                  25        210. Defendants improperly disclosed Plaintiffs’ trade secrets without
                  26 Plaintiffs’ consent when they widely disseminated those trade secrets to media
                  27                                                                                      Formatted Table

                  28                                      -- 81 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 83 of 92 Page ID #:586




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                   1 organizations for publication and at the time of such disclosure, knew or had
                   2 reason to know that the information disclosed consisted of trade secrets.
                   3         211. As a direct consequence of Defendants’ misappropriation,
                   4 Plaintiffs have suffered damages, which include, but are not limited to,
                   5 damage resulting from harm to Plaintiffs’ computers, servers, and accounts,
                   6 loss in the value of Plaintiffs’ trade secrets and business information, and
                   7 harm to Plaintiffs’ business, in an amount to be proven at trial.
L L P




                   8         212. As a direct consequence of Defendants’ unlawful
F L E X N E R




                   9 misappropriation, Defendants have unjustly benefited from their possession of
                  10 Plaintiffs’ trade secrets.
                  11         213. In misappropriating Plaintiffs’ trade secrets, Defendants acted
S C H I L L E R




                  12 willfully and maliciously. Plaintiffs are thus entitled to exemplary damages
                  13 under Section 3426.3(c) of the Civil Code. Plaintiffs are also entitled to
                  14 reasonable attorneys’ fees and costs under Section 3426.4 of the Civil Code.
                  15         214. Defendants’ conduct has caused, and will continue to cause
B O I E S




                  16 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                  17 increased risk of further theft, and an increased risk of harassment. Such
                  18 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                  19 seek an injunction prohibiting Defendants from engaging in the conduct
                  20 described in the Cause of Action.
                  21         215. Plaintiffs further seek a declaration that Defendants’ conduct as
                  22 described in this First Amended Complaint is a violation of this Cause of
                  23 Action.
                  24             FOR A NINTH CAUSE OF ACTION AGAINST ALL
                                               DEFENDANTS
                  25
                         Misappropriation of Trade Secrets In Violation of the Defend Trade
                  26                                Secrets Act
                  27                              18 U.S.C. § 1836 et seq.                                 Formatted Table

                  28                                       -- 82 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 84 of 92 Page ID #:587




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                   1         216. Plaintiffs incorporate and adopt by reference the allegations
                   2 contained in each and every preceding paragraph of this First Amended
                   3 Complaint.
                   4         217. The materials that Defendants stole from Plaintiffs’ and Google’s
                   5 computer systems include trade secrets within the meaning of 18 U.S.C. §
                   6 1839.
                   7         218. The BCM server stored trade secrets including but not limited to
L L P




                   8 highly confidential business plans and proposals, research supporting those
F L E X N E R




                   9 plans and proposals including costs and service projections, information
                  10 concerning business strategies and opportunities, and contacts for important
                  11 business relationships. These trade secrets are of immense value to Plaintiffs.
S C H I L L E R




                  12         219. Plaintiffs take and have taken reasonable measures to keep this
                  13 information secret. For example, Plaintiffs have always maintained their
                  14 information on secured servers that are protected by passwords, firewalls, and
                  15 antivirus software.
B O I E S




                  16         220. Plaintiffs’ trade secrets were related to products or services used
                  17 in, or intended for use in, interstate or foreign commerce.
                  18         221. Defendants acquired Plaintiffs’ trade secrets knowing or having
                  19 reason to know that the trade secrets were acquired by improper means.
                  20 Defendants also disclosed, or aided in the disclosure of, the trade secrets on
                  21 multiple occasions by sharing those trade secrets with media organizations, as
                  22 discussed herein, while knowing or having reason to know that the trade
                  23 secrets were acquired by improper means.
                  24         222. As a direct consequence of Defendants’ misappropriation,
                  25 Plaintiffs have suffered damages, which include, but are not limited to,
                  26 damage resulting from harm to Plaintiffs’ computers and servers, loss in the
                  27                                                                                      Formatted Table

                  28                                      -- 83 --             Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 85 of 92 Page ID #:588




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                   1 value of Plaintiffs’ trade secrets and business information, and harm to
                   2 Plaintiffs’ business, in an amount to be proven at trial.
                   3         223. Furthermore, as a direct consequence of Defendants’ unlawful
                   4 misappropriation, Defendants have unjustly benefited from their possession of
                   5 Plaintiffs’ trade secrets.
                   6         224. In misappropriating Plaintiffs’ trade secrets, Defendants acted
                   7 willfully and maliciously. Plaintiffs are thus entitled to exemplary damages
L L P




                   8 under 18 U.S.C. § 1836(b)(3).
F L E X N E R




                   9         225. In misappropriating Plaintiffs’ trade secrets, Defendants acted
                  10 willfully and maliciously. Plaintiffs are thus entitled to exemplary damages
                  11 and reasonable attorneys’ fees under 18 U.S.C. § 1836(b)(3).
S C H I L L E R




                  12         226. Defendants’ conduct has caused, and will continue to cause
                  13 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                  14 increased risk of further theft, and an increased risk of harassment. Such
                  15 injury cannot be compensated by monetary damages. Plaintiffs accordingly
B O I E S




                  16 seek an injunction prohibiting Defendants from engaging in the conduct
                  17 described in the Cause of Action.
                  18         227. Plaintiffs further seek a declaration that Defendants’ conduct as
                  19 described in this First Amended Complaint is a violation of this Cause of
                  20 Action.
                  21             FOR A TENTH CAUSE OF ACTION AGAINST ALL
                                              DEFENDANTS
                  22                                                                                       Formatted: Space Before: 12 pt, After: 12 pt
                                                     Civil Conspiracy
                  23
                                                                                                           Formatted: Font color: Auto
                  24         131.228.     Plaintiffs incorporate and adopt by reference the                Formatted: List Paragraph, Line spacing:
                                                                                                           single, No bullets or numbering
                  25 allegations contained in each and every preceding paragraph of this First
                                                                                                           Formatted: Font color: Auto
                  26 Amended Complaint.                                                                    Formatted: Font: Not Bold

                  27                                                                                       Formatted Table

                  28                                       -- 84 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47-1 Filed 05/24/18 Page 86 of 92 Page ID #:589




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                   1        132.229.      On information and belief, Defendants willfully,
                   2 intentionally, and knowingly agreed and conspired with each other and with
                   3 others to engage in the wrongful conduct alleged herein, including but not
                                                                                                            Formatted: Font: Not Bold
                   4 limited to
                                                                                                            Formatted: Numbered + Level: 2 +
                   5              a. Intentionally accessing Plaintiffs’ and Google’s servers, and          Numbering Style: a, b, c, … + Start at: 1 +
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                                                                                                            1.25"
                   6                   emails and documents physically located on those servers
                   7                   accounts without authorization and then stealing and/or
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                   8                   doctoring Plaintiffs’ data and emails, in violation of the
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                   9                   Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(2)(C)
                  10                   & (a)(5);
                  11              b. Knowingly accessing or causing to be accessed, and without
S C H I L L E R




                  12                   permission taking, altering, and making use of Plaintiffs’ and
                  13                   Google’s programs, data, and files from Plaintiffs’ computers,
                  14                   computer systems, and/ or computer networksnetwork, and/or
                  15                   knowingly and without permission providing or assisting in
B O I E S




                  16                   providing a means of accessing Plaintiffs’ and Google’s
                  17                   computers, computer systems, and/ or computer
                  18                   networksnetwork, in violation of the California
                  19                   Comprehensive Computer Data Access and Fraud Act, Cal.
                  20                   Pen. Code § 502;
                  21              c. Intentionally receiving stolen property, in violation of Cal.
                  22                   Pen. Code § 496;
                  23              d. Invading Plaintiffs’ reasonable privacy interests and then
                  24                   publicly disseminating Plaintiffs’ private information in a
                  25                   manner that is highly offensive to a person of reasonable
                  26                   sensibilities; and/or
                  27                                                                                        Formatted Table

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                   1               e. Taking and converting Plaintiffs’ exclusive private and
                   2                    personal property without permission and with deliberate
                   3                    intent to access and obtain Plaintiffs’ personal and private
                   4                    information. ;
                   5               f. Willfully and intentionally accessing without authorization a
                   6                    facility through which an electronic communication service is
                   7                    provided, namely, BCM’s computer systems, including its
L L P




                   8                    email servers, and thereby obtaining access to wire or
F L E X N E R




                   9                    electronic communications while they were in electronic
                  10                    storage in such systems, in violation of 18 U.S.C. § 2701(a);
                  11               g. Accessing copyrighted material contained on Plaintiffs’
S C H I L L E R




                  12                    computer networks and email controlled by technological
                  13                    measures, in violation of 17 U.S.C. § 1201 et seq.; and/or
                                                                                                             Formatted: List Paragraph, Line spacing:
                  14         133.230.      Misappropriating Plaintiffs’ trade secrets in violation of        single, No bullets or numbering

                  15 Cal Civ. Code § 3426 et seq. and 18 U.S.C. § 1836 et seq. On information
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                  16 and belief, Defendants performed the acts alleged pursuant to, and in
                  17 furtherance of, their agreement and/or furthered the conspiracy by
                  18 cooperating, encouraging, ratifying, and/or adopting the wrongful acts of
                                                                                                             Formatted: Font: Not Bold
                  19 others.
                  20         134.231.      On information and belief, Defendants expressly or tacitly
                                                                                                             Formatted: Font: Not Bold
                  21 agreed to, at the very least:
                  22               a. Devise and execute a scheme to access Plaintiffs’ computers,
                  23                    computer systems or computer network without permission,
                  24                    and to take, convert, alter, obtain, and use Plaintiffs’ property,
                  25                    including private data and computer
                  26                    networkscommunications, documents, trade secrets and
                  27                    intellectual property;                                               Formatted Table

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                   1                b. Transfer and then disseminate the stolen private data; and/or
                   2                c. Access, receive, and/or possess the stolen private information,
                   3                    all with the intent to harm Plaintiff Broidy, a private United
                   4                    States citizen residing in California.
                                                                                                            Formatted: List Paragraph, Line spacing:
                   5         135.232.      On information and belief, Defendants, with full                 single, No bullets or numbering

                   6 knowledge that they were engaged in wrongful actions, deliberately accessed,
                   7 received, possessed, stored, and helped to disseminate Plaintiffs’ stolen data
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                   8 and emailsproperty, including private communications, documents, trade
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                   9 secrets and intellectual property.
                  10         136.233.      On information and belief, Defendants also had meetings
                                                                                                            Formatted: Font: Not Bold
                  11 wherein targeting Plaintiff Broidy was discussed.
S C H I L L E R




                  12         137.234.      On information and belief, Defendants’ agreement was
                  13 both explicit and tacit. In particular, those Agent Defendants who were
                  14 registered agents of the State of Qatar under FARA, as well as unregistered
                  15 agents of the State of Qatar, were incentivized to do the bidding of the State of
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                  16 Qatar and engage in any acts that would further the overall scheme.
                  17         138. Plaintiffs will continue to suffer injury as long as their personal
                  18 information is available to Defendants and, subsequently, to media
                  19 organizations and the world at large. Plaintiffs’ remedy at law is not itself
                  20 adequate to compensate for the injuries inflicted by Defendants. Accordingly,
                  21 Plaintiffs are entitled to injunctive relief to prevent the further accessing, use,
                  22 and dissemination of Plaintiffs’ data.
                  23         235. Upon information and belief, the conspiracy was agreed to within
                  24 the United States, and at least one step in furtherance of the conspiracy
                  25 occurred within the United States.
                                                                                                            Formatted: List Paragraph, Line spacing:
                  26         139.236.      On information and belief, Plaintiffs have been injured and      single, No bullets or numbering

                  27 have suffered monetary damages as a result of Defendants’ conspiratorial               Formatted Table

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                   1 actions in an amount to be proven at trial, but in any event, in excess of
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                   2 $75,000, exclusive of interest and costs.
                   3                             REQUEST FOR RELIEF
                   4         237. Defendants’ conduct has caused, and will continue to cause
                   5 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                   6 increased risk of further theft, and an increased risk of harassment. Such
                   7 injury cannot be compensated by monetary damages. Plaintiffs accordingly
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                   8 seek an injunction prohibiting Defendants from engaging in the conduct
F L E X N E R




                   9 described in the Cause of Action.
                  10         238. Plaintiffs further seek a declaration that Defendants’ conduct as
                  11 described in this First Amended Complaint is a violation of this Cause of
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                  12 Action.
                  13                             REQUEST FOR RELIEF
                  14                                                                                        Formatted: List Paragraph, Line spacing:
                             140.239.      Plaintiffs repeat and re-allege the allegations contained in     single, No bullets or numbering, Widow/Orphan
                  15                                                                                        control, Tab stops: Not at 0.5"
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                       each and every preceding paragraph of this Complaint.
                  16
                             141.240.      Plaintiffs request that this Court order the following relief:
                  17
                                        a. Grant judgment in favor of Plaintiffs and against
                  18
                                           Defendants;
                  19
                                        b. Declare that Defendants’ conduct constitutes violations of
                  20
                                           the statutes and common law cited herein;
                  21
                                        c. Grant all appropriate injunctive relief;
                  22
                                        d. Award Plaintiffs an appropriate amount in monetary
                  23
                                           damages as determined at trial, including pre- and post-
                  24
                                           judgment interest, and any treble damages to which
                  25
                                           Plaintiffs are entitled under Cal. Pen. Code § 496;
                  26
                  27                                                                                        Formatted Table

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                   1               e. Award Plaintiffs punitive damages under 18 U.S.C.
                   2                  § 2707, 18 U.S.C. § 1836(b)(3), Cal. PenCiv. Code
                   3                  § 3426.3(c), and Cal. Pen. Code § 502, as well as under
                   4                  Plaintiffs’ claims for invasion of privacy by public
                   5                  disclosure of private facts, invasion of privacy by intrusion
                   6                  upon seclusion, and conversion;
                   7               f. Award Plaintiffs attorneys’ fees and the costs of bringing
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                   8                  this action; and
F L E X N E R




                   9               g. Grant Plaintiffs such other relief as is just and appropriate.
                  10
                  11 Dated: March 26, 2018            Respectfully submitted,
S C H I L L E R




                  12                                  BOIES SCHILLER FLEXNER LLP
                  13
                  14                                  By:        /s/
                  15                                        DAVID K. WILLINGHAM
B O I E S




                                                            Counsel for Plaintiffs
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                                                JURY TRIAL DEMANDED                                         Formatted: Font: Not Bold
                   1                                                                                        Formatted: Heading 1, Left, Line spacing:
                                    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs           single, Tab stops: Not at 0.63" + 1.5" + 2" +
                   2                                                                                        3.5"
                       demand a trial by jury of all of the claims asserted in this Complaint so triable.   Formatted: Body Text,Ctrl+1,bt,b, Line
                   3                                                                                        spacing: single, Tab stops: Not at 0.63" +
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                   5
                       Dated: March 26May 24, 2018        Respectfully submitted,
                   6
                   7                                      BOIES SCHILLER FLEXNER LLP
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                   8
                                                          By:        /s/
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                   9                                             DAVID K. WILLINGHAM
                  10                                             LEE S. WOLOSKY
                  11                                      Counsel for Plaintiffs
S C H I L L E R




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